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     CASE                                                          CLERK, U.S. Di~Tf~iCT COURT


                                                                         NOV 2 62Q1~
    Tara McCluskey El In Propria Persona
    Email:greatestZ6@live.com                                    CENTFZAL DiSTRiCT~ CALIFORNIA
                                                                 ~Y            /Il1I   DE~'UTY
    325 N. Nia_ple Drive #2536
    Beverly Hills Territory, California Republic [90213]
    In Propria Persona,.Sui Juris Sui Heredes,
    Jus Soli Jus Sanguinis, Jus I~ecuperandi .
    Plaintiff In Propria Persona, Moorish American National
 ~~ Status: White Woman,
                             All Rights Reserved
    UCC 1-308 UCC 1-103


                               UNITED STATES DISTRICT COURT
              CENTRAL DISTRICT OF CALIFORNIA,WESTERN DIVISION
10                                    t-~- C Y 1 ~Case 0No.9~ ~ 4~- Ss~~-I~~~
11   Tara McCluskey El, a Noble, National and ~
                                                  COMPLAINT FOR DAMAGES/
12   on behalf ofthe Plaintiffs Estate TARA       REDRESS AND RESTITUTION FOR:
13   MCCLUSKEY,TARA MCCLUSKEY EL                     1)DEPRIVATION OF RIGHTS
                                                       UNDER COLOR OF LAW IN
14                Plaintiff,                           VIOLATION OF TITLE 18 U.S.
                                                       CODE 242; AND
is          vs.                                      2)CONS IRACY TO VIOLATE
16   James G.Perry, an individual; Daniel           3 KIDN~U    ING N~VIO~AT'IOOF
                                                     ~ 18 U.S.CODE ~1961
17   Lopez an individual, Jackie Lacey, an             RACKETEEP:ING
                                                    4)~[UMAN TRAFFICKING IN
18   individual, The Los Angeles District              VIOLATION OF 18 U.S. CODE
                                                        1582-VESSELS FOR SLAVE
19   Attorney, a California Corporation, Office         BADE• AND
                                                    5)SLAVERY IN VIOLATION OF 18
Zo   of The Attorney General, A California             U.S.CODE~1581 PEONAGE;
                                                       OBSTRUC ING ENFORCEMENT:
21   Corporation, Loretta Lynch, an individual,        AND
                                                    6)ENTICEMENT INTO SLAVERY
22   Attorney General United States                    IN VIOLATION OF 18 U.S. CODE
                                                        1583• AND
23   Department of the White House, a France        7) ENCjCIDE IN VIOLATION OF
                                                       U.S.CODE 1091
24   Corporation and DOES 1-10, inclusive,          8)LIABILI     OF UNITED STATES
                                                       28 U.S.CODE 2674,
25                Defendants)                          ADl~~STRA IVE
                                                       ADJUSTMENT OF CLAIMS 28
26                                                     U.S.C. 2672
                                                  DEMAND F R MONETARY
27                                                SETTLEMENT OR JURY TRIAL
28


                                                1
                          COMPLAINT FOR DAMAGES/ REDRESS AND RESTITUTION
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      CASE 2:17-CV-00426-R-PLAx



            Plaintiff Tara McCluskey El allege against defendants James G. Perry ("Perry")
      Daniel Lopez("Lopez")Jackie Lacey("Lacey")The Los Angeles District Attorney
 3   ("Los Angeles District Attorney") Office of The Attorney General State of California
     ("The Attorney General") Office ofthe Attorney General ofthe United States("The
      Attorney General") and DOES 1-50 inclusive, collectively,"Defendants" as follows:
                                         INTRODUCTION
            1.     This case is about lack ofjurisdiction and Human Rights Violations under
      operations of Color ofLaw being done by Defendant's acting on behalf of The State of
      California and the United States and the conspiracy to silence Tara McCluskey El, a
io    Noble, right to due process by Defendants. Defendants had no jurisdiction to bring
~~    action against Tara McCluskey El, A Noble "Plaintiff' in the first place and are in
IZ    violation ofthe Treaty ofPeace and Friendship and The Constitution for the United
13    States and several other violations.
14          2.     This case is about the Defendants criminal Act offalsely prosecuting the
15   Tara McCluskey El, A Noble "Plaintiff' under Christian Black Codes, a code system set
16    up to perpetually keep Indigenous, Aboriginal Americans and those calling themselves
~~ "African American & "Black" through systematic indoctrination from birth in perpetual
18   slavery, compulsion, force and conquest and plunder, Christian Constantine black codes
19   doctrine.
20          3.     Plaintiff is a White Woman,Moor American National who accepts her
21   inheritance, Indigenous and Original to America, Africa and the Earth whose very
22   successful and promising career was interrupted and cut off by Defendants violation and
23   conspiracy to commit paper genocide in order to trespass on Plaintiffs Estate and obstruct
24   justice. Defendant's criminal activity was to prevent Plaintiff from suing Defendant's for
25   their criminal actions through use of extortion by threatening her with a 7 year jail/prison
26   sentence in order to get Tara McCluskey El,"A Noble" to take Defendants plea bargain
2~   on a claim that had already been settled (with the Defendant's knowledge ofthat
Zs   settlement) with the party(ENTERPRISE HOLDINGS,ENTERPRISE RENT A CAR)

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 1   whom the Defendant's claimed they were prosecuting Plaintiff on behalf. The parties in
 2   which the Plaintiff settled will be sued in a separate action for their part in the criminal
 3   activity and collusion against Plaintiff is they were mentioned in the initial action dated
 4   on January 17, 2017 and filed January 18, 2017.
 5           4.     Plaintiff brings this action on behalf ofPlaintiff Tara McCluskey E1 and
 6        Plaintiff's Estate TARA MCCLUSKEY for the intentional violation oftrespass on
          Plaintiffs Estate.
 8           5.     This case is about human trafficking, slavery, peonage, wrongful
 9   prosecution, obstruction ofjustice, mail fraud, retaliating against a victim, kidnapping,
io   Deprivation of Rights under Color ofLaw
11           6.     Daniel Lopez"Defendant" told Plaintiff in the tribunal court room he had no
12   intention of dismissing the case against her no matter how many times she asked him. He
13   also told Plaintiff she better not bring the motion up again that he had denied. REFER TO
14   EXHIBIT
15           7.     Pomona Supreme Court has approximately a 98% conviction rate due to
16   forcing people into plea bargains through threat, duress and coercion obstructing due
~~   process. THE STATE OF CALIFORNIA cannot sue a natural person, nor a Moor as
18   there is diversity of citizenship and a Treaty ofPeace and Frienship .
19           8.     Plaintiff, THROUGH THREAT,DURESS AND COERCION, was forced
Zo   into a plea bargain because the Prosecution and parties involved feared a lawsuit.
21           9.     On the date of Plaintiffs trial, she was kidnapped, falsely and maliciously
22   arrested and locked up by the criminal actions ofthe Defendant's to prevent the trial, a
23   violation of due process, human trafficking, wrongful prosecution, threat duress and
24   coercion, retaliating against a victim, kidnapping, etc.
25                  PARTIES
26   A.      Plaintiff
27

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 1          10.    Plaintiff is Tara McCluskey El whom is a White Indigenous, Moor, Origi
 2   American National, African, Inhabitants ofthe whole earth, whose principal domicile is
 3   in Los Angeles County, California Republic.
 4   B.    Defendant's
 5          1 1.   James G. Perry, an "acting" officer ofthe De facto Los Angeles County
 6   Prosecutors office.
            12.    Daniel Lopez, an "acting" magistrate ofthe De facto Pomona Superior
 8          13.    Jackie Lacey, Los Angeles County "acting" District Attorney
 9          14.    Office ofthe Attorney General "a California Corporation"
Zo          15.    Loretta Lynch, an "acting" Attorney General ofthe United States
1~   Department ofthe White House
12          16.    The United States, a De facto "original France Corporation" with several
13   shell Corporations
14          17.    Plaintiff reserves the right to add information, e~ibits, and Defendants to
15   this claim as Plaintiff sees fit and Plaintiff becomes aware of new information. Plaintiff is
16   informed and believe, and on that basis allege, that DOES 1 through 50, inclusive, are
~~   individually and/or jointly liable to Plaintiff for the wrongs alleged herein. The true
is   names and capacities, whether individual, corporate, associate or otherwise, of
19   Defendants DOES 1 through 50, inclusive, are unknown to Plaintiff at this time.
20   Accordingly, Plaintiff sue Defendants DOES 1 through 50, inclusive, by fictitious names
21   and will amend this Complaint to allege their true names, estates, assigns and heirs and
22   capacities after they are ascertained.
23                         Jurisdiction and Venue
24         18.     Plaintiff is a White woman, Moor American National and therefore
25   protected by Article 3 Section 2.(in its entirety) of The United States Constitution
26   which states :The judicial Power shall extend to all Cases, in Law and Equity, arising
2~   under this Constitution, the Laws ofthe United States, and Treaties made, or which shall
2s ~ ~ be made, under their Authority;---to all Cases affecting Ambassadors, other public

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 1   Ministers and Consuls; to all Cases of admiralty and maritime jurisdiction; to
 2   Controversies to which the United State shall be a Party; to Controversies between two
 3   or more States;[between a State and a Citizens of another State;] between Citizens of
 4   different States, between Citizens ofthe same State claiming Lands under the Grants of
 5   different States [and between a State, or the Citizens thereof; and foreign States, Citizens
 6   or Subjects.]
            19.   There is no protection of the Defendant's under the Supremacy Clause
 8   in this action as all protections were removed and voided by the Apostolic Letter Issued
 9   Motu Proprio of The Supreme Pontiff Francis on the Jurisdiction of Judicial Authorities
10   of Vatican City State in Criminal Matters Given in Rome, at the Apostolic Palace, on 11
11   July 2013, 7/11/2013.
12         20.    This case is brought under Federal Statutes, Title 28 U.S. Code §sections
13   2672- Administrative adjustment of claims, 28 U.S. Code § 2674 -Liability of United
14   States,
15         21.    Violation of The Treaty ofPeace and Friendship, Violation ofthe Bill of
16   Rights, Violation of The United States of American Constitution Article 4 Section 4: a
17   I, guaranteed Republican form of Government, Violation of:
18   Article 6 of the United States of America Constitution:
19         22.    All Debts contracted and Engagements entered into, before the Adoption of
20   this Constitution, shall be as valid against the United States under this Constitution, as
21   under the Confederation. This Constitution, and the Laws ofthe United States which
22   shall be made in Pursuance thereof; and all Treaties made,or which shall be made,
23   under the Authority of the United States, shall be the supreme Law of the Land;
24   and the Judges in every State shall be bound thereby, anv Thing in the Constitution
25   or Laws of any State to the Contrary notwithstanding.
26   The Senators and Representatives before mentioned, and the Members ofthe several
27   State Legislatures, and all executive and judicial Officers, both ofthe United States and
Zs   ofthe several States, shall be bound by Oath or Affirmation,to support this

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     Constitution; but no religious Test shall ever be required as a Qualification to any Office
     or public Trust under the United States.
           23.    The first clause ofthe Article provides that debts contracted prior to the
     adoption ofthe Constitution remain valid, as they were under the Articles of
     Confederation, 18 U.S. Code §24- Deprivation of rights under color oflaw,
                                             FACTS
           24.    A.     Defendants never had Jurisdiction to detain, kidnap, prosecute, or
     accost Plaintiffs(being a Moorish American)Estate or body as Plaintiff is protected by
     Article III Section 2. ofthe United States Constitution, there was diversity of Citizenship.
io   Defendants did not have Personum jurisdiction, subject matter Jurisdiction, or Territorial
~~   Jurisdiction. Plaintiff never waived her rights giving permission for Plaintiffto be
12   arrested against her will. Plaintiff did not consent to these fraudulent charges or
13   prosecution. Plaintiff brought up Personum jurisdiction on the day she was kidnapped for
14   not stepping behind the bar as she challenged jurisdiction at that time REFER TO
15   EXHIBIT ~,Plaintiff also challenged jurisdiction on 8/21/2014 by asking all in the
16   courtroom if they had jurisdiction over her body to detain her and there was complete
17   silence by all parties, not one individual answered (this happened after they cleared the
18   courtroom of all witnesses before calling her from the holding cell in which Defendants
19   kidnapped and held Plaintiff.) REFER TO EXHIBIT
20   B.    Violation of Due Process through operations of Color of Law
21         25.    James G.Perry, Daniel Lopez, Jackie Lacey, Loretta Lynch, are all acting in
22   their individual capacities on behalf ofthe State of California and United States. Both the
23   State of California and the United States have a history of using Color of Law and
24   Peonage as a form of slavery to obtain revenue and free labor and peonage from so called
25   "Black" and African American,(colored people.) REFER TO EXHIBIT
26   C.    The Extreme Detainment and arrest of"Black" people is Fraud
2~         26.    Prisoner profiteering through racketeering is an ongoing criminal practice
Zs   at the State of California level as well as at the federal United Staxes level by way ofthe

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 1   Color of Law operations and the use of The Christian Black Codes where the
 2   Practice of arresting so called "black" people "for basically breathing" and getting them
 3   to sign a faretta waiver to waive their rights to be willing sold into slavery unbeknownst
 4   them. This is a violation of Rico Act 18 U.S.C. § 1961. and a violation of U.S. Code
 5   §1583 ENTICEMENT INTO SLAVERY
 6         27.    Defendant's did fraudulently and maliciously prosecute the Plaintiff
     "knowing she had previously settled with "ENTERPRISE HOLDINGS,
 s   ENTERPRISE RENT A CAR,etc," in order to avoid Plaintiff filing a lawsuit against
 9   Defendant's as Plaintiff never signed a faretta waiver to waive her rights and should have
10    never been locked up against her will as Plaintiff did not volunteer to go to jail.
                             ~V\W~ ~~\K~ ~lJ1~1Q~1.~1 1~- ~1vi:.~~{ ~~J~7t~~~
11   REFER TO EXHIBIT ~               Enterprise emails and settlements
12         28.    Plaintiff was kidnapped and locked up in jail for roughly 30 days in
13   inhumane conditions because the Defendants were hoping to severely traumatize Plaintif
14    and break her will and spirit in order to get her to accept a plea bargain which Plaintiff
15   refused to do because she wanted to go to trial as she knew the criminal activities of
16   the Defendants was and is fraud and malicious. Plaintiff was also still in custody though
~~   out this entire process although not in the confinement of a jail cell, still confined and in
18    involuntary servitude and invisible cell in her life for an additional period of about 6
19   months as Tara McCluskey, A Noble "Plaintiff' was still listed as property and in fear of
20   being remanded to custody and had restricted rights so Plaintiff was still in
21   involuntary servitude until this case was dismissed over 6 months later in 2016 by
22   Plaintiffs Demand. REFER TO EXHIBIT
23         29.    "racketeering activity" means(A)any act or threat involving murder,
24   kidnapping, gambling, arson, robbery, bribery, extortion, dealing in obscene matter, or
25   dealing in a controlled substance or listed chemical (as defined in section 102 ofthe
26   Controlled Substances Act), which is chargeable under State law and punishable by
2~   imprisonment for more than one year.
28


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 1         30.    D.     All Violations Committed by Defendant's are in Violation and
 2         Punishable Under State Law and therefore in Violation of 28 U.S. Code
 3         X2672- Administrative Adjustment of Claims,28 U.S. Code X2674 Liability of
 4         United States.
 5         31.    An APOSTOLIC LETTER ISSUED MOTU PROPRIO of The
 6   Supreme Pontiff FRANCIS was issued on July 11,2013 "7/11/2013" on the
     jurisdiction ofjudicial Authorities of Vatican City State In Criminal matters, which
 8   this action coincides. The Motu Proprio was entered into force on September Ol,2013
 9   which states:
io         32.         3. For the purposes of Vatican criminal law, the following persons are
~~         deemed "public officials":
12   a)members, officials and personnel ofthe various organs ofthe Roman Curia and ofthe
13   Institutions connected to it.
14   b)papal legates and diplomatic personnel ofthe Holy See.
15   c)those persons who serve as representatives, managers or directors, as well as persons
16   who even de facto manage or exercise control over the entities directly dependent on the
17   Holy See and listed in the registry of canonical juridical persons kept by the Governorate
is   of Vatican City State;
19   d)any other person holding an administrative or judicial mandate in the Holy See,
Zo   permanent or temporary, paid or unpaid, irrespective ofthat person's seniority.
21   4. The jurisdiction referred to in paragraph 1 comprises also the administrative liability of
22   Juridical persons arising from crimes, as regulated by Vatican City State laws.
23         33.         All protections and claims of Supremacy Clause has been removed from
24   The Defendant's and the United States is liable for their criminal activities, therefore;
25   Violation of 28 U.S. Code §2672- Administrative Adjustment of Claims,28 U.S.
26   Code §2674 Liability of United States applies to this Federal Tort Claim
2~   REFER TO EXHIBIT
28


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 1                   FIRST CAUSE OF ACTION: VIOLATING 18 U.S. CODE ~ 242
 2                       DEPRIVATION OF RIGHTS UNDER COLOR OF LAW
 3                                          (18 U.S.CODE~ 242)
 4   Tara McCluskey E1 victimized by malicious and fraudulent retaliatory prosecution
 5        A.     Section 242
 6               34. Plaintiff refused to sign a faretta waiver at the de facto Pomona tribunal
     court house because Plaintiff did not wish to waiver her rights or volunteer for slavery.
 s               35. Section 242 states; Whoever, under color of any law, statute, ordinance,
 9   regulation, or custom, willfully subjects any person in any State, Territory,
10   Commonwealth,Possession, or District to the deprivation of any rights, privileges, or
11   immunities secured or protected by the Constitution or laws ofthe United States, ... shall
12   be fined under this title or imprisoned not more than one year, or both.
13   Section 242 also states:
14               36. if such acts include kidnaping or an attempt to kidnap, aggravated sexual
15   abuse, or an attempt to commit aggravated sexual abuse, or an attempt to kill, shall be
16   fined under this title, or imprisoned for any term of years or for life, or both, or may be
l~   sentenced to death
18               37. Plaintiff was kidnapped, arrested and held against her will by Defendants
19   acting as collective party inclusive of Individual named parties and The State of
20   California. EXHIBIT
21     SECOND CAUSE OF ACTION: CONSPIRACY TO VIOLATE 18 U.S. CODE
22                                                §242
23   A.        Section242
24             38.   Defendants were well aware that Plaintiff had settled the Claim with the
25   parties in which Defendants initiated the action against Plaintiff. James G. Perry and
26   Daniel Lopez had in their possession given to them by the Plaintiff proof that she had
2~   settled the matter on June 08,2015 with Transworld Systems Inc. on behalf of
Zs   ENTERPRISE RENT AGAR-SCD and all of its affiliates for $638.00 frn's.

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           39.    On the day Plaintiff was scheduled to meet with the defacto court appointed
 2   public defender after Ira removed himselffrom the case and said Plaintiff needed a trial
 3   lawyer; Plaintiff gave to Pamela Cash Curry all proofthat the matter had been settled
 4   matching up account numbers so there could be no confusion and proofthat James G.
 5   Perry had used fraud to kidnap and lock her up. SEE EXHIBIT
 6         40.    As Plaintiff had never voluntarily signed a faretta waiver waiving Plaintiffs
     rights or volunteered to go to jail for peonage and forced labor, human trafficking or
 s   involuntary servitude, Defendants plotted a scheme in which they could through threat,
 9   duress and coercion force Plaintiff into waiving her rights by accepting a plea bargain
10   after Plaintiff was kidnapped and held for ransom by actions ofthe Defendants June 09,
~~   2015,the date in which Plaintiff was scheduled to have a trial to clear her name and put
12   before a jury the perpetrated fraud that had been instituted against Plaintiff. REFER TO
13   EXHIBIT
14               THIRD CAUSE OF ACTION: KIDNAPPING IN VIOLATION
15                         (18 U.S. CODE X1961)RACKETEERING
16         41.    Refer to Actions 1-2, and actions 4-8 ofthis Complaint and Demand for
~~   Immediate Settlement.
18     FOURTH CAUSE OF ACTION: HUMAN TRAFFICKING IN VIOLATION of
19                                Treaty of Peace and Friendship
20          In Violation of(18 U.S. CODE X1582) VESSELS FOR SLAVE TRADE
21         42.    On August 14, 2014(8/14/14) Douglas Sortino,(de facto presiding
22   magistrate) acting as an attorney from the bench entered a plea of not guilty against the
23   will of Tara McCluskey El, A Noble Moor "Plaintiff' because she refused to enter a plea
24   and the court could not move and was at a standstill.(He later recused himselffrom the
25   case.) A public defender was also forced upon her. Plaintiff up until that point was being
26   held in a cell waiting to be seen by the magistrate and asked to sign a faretta waiver in
2~   which she refused as she did not need to and did not consent or wish to waive her rights.
zs   EXHIBIT

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            43.   When the acting baliff came to get Plaintifffrom the cell in which she was
 2   being held against her will, he threatened to arrest her mother ifthey looked at each other
 3   in order to intimidate through threat, duress and coercion the Plaintiff into signing the
 4   faretta waiver. Upon entry into the colorable court, Plaintiff told the Douglas Sortino
 5   "acting magistrate", Adewale A. Oduye "the acting district attorney" and Janice Weamer
 6   "the clerk" what the acting baliff had said as he had threatened her mother and that she
     wanted it on the record what had just occurred and also wanted the acting baliffs bond
 8   number. EXHIBIT
 9          44.    Adewale A. Oduye "the acting public defender" tripped over his briefcase
io   as he was so startled and all ofthe present defacto court actors started laughing. Adewale
11   A. Oduye also told Douglas Sortino,"the acting magistrate" that he did not have a file on
12   the Plaintiff and Douglas Sortino "the acting magistrate" asked him if he needed some
13   time to make a copy of his file in which "Oduye" did. Douglas Sortino "the acting
14   magistrate" then asked the de facto baliff if he needed some time and he said yes. The
15   defacto baliff then kidnapped the Plaintiff and took her back to the cell in order to reset
16   the case and remove their fraudulent actions from the record. REFER TO EXHIBIT
17         45.    When the Plaintiff was later brought back in a man came over and started
18   yelling at her asking where the subject matter ofthe case was located (as there was no
19   evidence to even bring the action) he was so brutal, the Plaintiffthought he was the
20   acting prosecutor, he turned out to be the public defender the acting defendants were
21   trying to force and inveigle on the Plaintiff as the defendants were trying to get the
22   Plaintiff to incriminate herself. He then walked over to Adewale A. Oduye "the acting
23   district attorney" and started trying to enter into agreements on the Plaintiffs behalf in
24   which Plaintiff immediately put an end to by asserting and demanding that he had no
25   authority to speak for her and who did he think he was.
26         46.     Plaintiff then turned to Douglas Sortino "the de facto acting magistrate" and
27   '~ asked him who that man thought that he was. Douglas Sortino then asked the Plaintiff did
2s   she wish to waive time and she said no, I do not wish to waive time."Sortino" then said

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     not waiving time was for people who are locked up but since she was being compelled to
     come back, waiving time would be better for Plaintiffto gather a defense. Plaintiff
     affirmed that she did not wish to waive time or her rights.
           47.    Page No.2 of minute order dated OZ/17/15 of case# 4PK00368 third
     sentence from the top states,(Defendant has 5 actual days jail credit) as evidence that
     Plaintiff was held prior to this kidnapping for something she did not consent to or
     volunteer for servitude which is why there was no file for Adewale A. Oduye "the acting
     de facto district attorney" to proceed and he had to inveigle and create one.
                  48.   This is also proofthat the file for the claim which James G. Perry "the
10   acting district attorney" used (that was barred)to have Plaintiff arrested on the date she'
11   was scheduled to go to trail was fraudulent as Plaintiff was reporting James G. Perry and
12   the other actors to the State Bar. The prior case with 5 days jail credit had been dropped
13   which "Perry" used to falsely prosecute Plaintiff. EXHIBIT
14         49.    As Plaintiff was sitting waiting to have her trial, James G.Perry had had the
15   first case 4PK00368 dropped which had already been settled and refiled a new case
16   KA109902 and attached a slave bond no. SV504642864 with a surety company,
17   Seaview Ins Company bail of $35,000 and felony counts on June 09,2015. James G.
18   Perry then fraudulently bad the minute orders changed to say that this happened at
19   8:30am as it did not, at 8:30am I was in the de facto court[James G. Perry was there
20   as the prosecutor trying to prosecute me, he was not somewhere dropping the case, he
21   dropped the case because he thought I would be let go and feared prosecution] of Daniel
22   Lopez for 4PK109902 and "Lopez" had scheduled me to come back at 1:30pm to see
23   a female fudge which was still under 4PK00368. James G.Perry then had her
24   kidnapped and detained while she was waiting to see the female defacto magistrate
25   Daniel Lopez had scheduled her to see at 1:30pm by armed bounty hunters brought over
26   to another de facto court and arrested. There was a good Samaritan an officer ofthe
2~   defacto court who saw what was being done and went and reported James G. Perry to Ira
2s   Thwatcher who at that moment tried to intervene and help which led to no avail as

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                                                                 Y• Y




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                                                                            acting public defender to
1        Plaintiff had been through threat duress and coercion getting an
                                                                          genocidal actions of James
2        help her due to the unlawful, malicious, fraudulent terroristic,
3        G. Perry. Refer to Eghibit~
4                     FIFTH CAUSE OF ACTION:SLAVERY IN VIOLATION
                                                             RCEMENT
5             (18 U.S. CODE X1581)PEONAGE; OBSTRUCTING ENFO
                                                                                       coercion,
6               50.   On July 16, 2015, Plaintiff was forced through threat duress and
                                                                               slavery in order to
         compulsion, force and conquest to serve 30(thirty) days oftree farm
                                                                                  a felony with 1
8        reduce the fraudulent charges against defendant to a misdemeanor from
9        year summary probation.
                                                                                      hment for
10       Plaintiff was forcibly put into slavery by forcing her to Tree Farm as punis
                                                                                       IBIT
11       exerting her rights against a false malicious prosecution. REFER TO EXH
12
                                                                             IN VIOLATION
13         SIXTH CAUSE OF ACTION: ENTICEMENT INTO SLAVERY
14                                   (18 U.S. CODE §1583)
                                                                                    fun to go
15             51. James G. Perry "Defendant" told Plaintiff he thought it would be
                                                                                         and no pric
16        battel "trial" with her but didn't want to as he thought she was a good person
                                                                                          El, A
~~        history of charges. James G. Perry "Defendant" then offered Tara McCluskey
~8        Noble Moorish American "Plaintiff' a plea bargain and wrote his name and phone
                                                                                       Diversion
19        number on a green lined post it. He told Plaintiff to write down DOS 1001.94
Zo        of Sentence and to research it. See exhibit
21              52. On the day Plaintiff was set to go to trial, James G.Perry went hard to work
                                                                                          have
22        in order to prevent himselffrom being prosecuted for his crimes in colluding to
                                                                                            upted
 23       Plaintiff locked up and avoid a jury trial which he knew she would win. He interr
    24     the tribunal being held in Rm#    while she was sitting in there to see de facto
    25     Magistrate                   at L:~m for trial with about 3 armed uniformed bounty
                                                                                                  sh
    26    'I men; and the witness ofthe party Chris Sullivan(ENTERPRISE)in which all matter
    27       been settled. That settlement contract states:                             ~--

    28            53.   The Settlement agreement;        REFER to EXHIBIT            ~'-~-

                                                      13
                                COMPLAINT FOR DAMAG ES/ REDRESS AND RESTITUTION
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 1
                                                                         URGENT
 2
                                                  INCLUDE DISCHARGE OF DEBT IN YOUR FAX
              I was authorized by Joseph Viegar to send you this request for a settlement letter to be faxed to me today.
 3            TRANSWORLD SYSTEMS HAS AGREED TO DZSCFiARGE THZS DEBT AND SETTLE THIS ACCOUNT ZN ENTIRETY ON BEHALF OF
              ENTERPRISE HOLDINGS/ ENTERPRISE RENT A CAR AND ITS AFFILIATES AND ANY ONE SEEKING PROSECUTION FOR ALL CLAIMS
              TOWARD TARA MCCLUSKEY AND ANY AND ALL THINGS RELATED TO THIS MATTER AND CAR PERPETUALLLY AND GRANTS AQUITTAL
 4            OF ALL CHARGES PAST, PRESENT OR FUTURE PERPETUALLY.

 J       I    THIS $639 RELEASES TARA MCCLUSKEY AND HER AFFILIATIONS FROM LIABILITY AND PROSECUTION FROM ENTEERPRISE RENT A
         ~,   CAR/ ENTERPRISE HOLDINGS/ TRANS WORLD SYSTEMS/ ANY COURT, STATE, DISTRICT ATTORNEY AND AFFILIATES, ANY
              COIyIPANY OR PERSON OR ENTITY UNIVERSALLY FOR $639.00, THIS IS A DISCHARGE OF DEBT AND CHARGES FROM THIS CLAIM,
 5            PAST OR PRESENT CHARGES OR CLAIMS AND ANY AND ALL FUTURE CLAIMS OR CHARGES OR ACCUSATIONS REGARDING THIS
         i    MATTER WITH ENTERPRISE AND ALL THINGS, ISSUES RELATED TO IT PERPETUALLY. THIS AGREEMENT TERMINATES AND
              DZSACARGES AND DISMISSES ALL PAST, PRESENT AND FUTURE PROSECUTION FROM ANYONE, ENTITY, THING AND COURT
 7       ~    REGARDING THIS MATTER, CAR, LENGTH OF FIAVING THE CAR, STATE OF THE CAR, ALL THINGS PERTAINING TO THE CAR
              PERPETUALLY.

 8            I GIVE PERMISSION TO TRANSWORLD SYSTEMS TO FAX A DISCHARGE OF DEBT AND SETTLEMENT LETTER TO ME WHICH WILL BE
              PART OF THIS AGREEMENT:

 9            Re: ENTERPRISE RENT A CAR/ ENTERPRISE HOLDINGS/ TRANS WORLD SYSTEMS inclusive of all things mentioned above.


10            Reference~F 295 08 931



11            MY FAX   650-521-5656    MY FAX NUMBER IS NOT TO BE SHARED WITH ANYONE



12            Thank you,


13            Tara McCluskey


14

15                     SEVENTH CAUSE OF ACTION: GENOCIDE IN VIOLATION
16                                                       (18 U.S. CODE X1091)
17              54.       (a)Basic Offense. Whoever, whether in time of peace or in time of war
18    and with the specific intent to destroy, in whole or in substantial part, a national,
19    ethnic, racial, or religious group as such
20   (1) kills members of that group;
21   (2) causes serious bodily injury to members of that group;
22   (3) causes the permanent impairment of the mental faculties of members of the
23    group through drugs, torture, or similar techniques;
24   (4) subjects the group to conditions of life that are intended to cause the physical
25    destruction of the group in whole or in part;
26   (5) imposes measures intended to prevent births within the group; or
27   (6) transfers by force children of the group to another group;
28   shall be punished as provided in subsection (b).

                                                            14
                                       COMPLAINT FOR DAMAGES/ REDRESS AND RESTITUTION
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1           55.    (b)Punishment for Basic Offense. The punishment for an offense under
2     subsection(a)is
3    (1) in the case of an offense under subsection (a)(1), where death results, by death or
 4    imprisonment for life and a fine of not more than $1,000,000, or both; and
5    (2) a fine of not more than $1,000,000 or imprisonment for not more than twenty years,
6     or both, in any other case.
            56.    (c)Incitement Offense.
8     Whoever directly and publicly incites another to violate subsection(a)shall be fined not
 9    more than $500,000 or imprisoned not more than five years, or both.
10          57.    (d)Attempt and Conspiracy.
11    Any person who attempts or conspires to commit an offense under this section shall be
12    punished in the same manner as a person who completes the offense.
13          58.    (e)Jurisdiction. There is jurisdiction over the offenses described in
14    subsections (a),(c}, and(d)if
15          59.    (1) the offense is committed in whole or in part within the United States; or
16   (2) regardless of where the offense is committed, the alleged offender is
17   (A) a national ofthe United States(as that term is defined in section 101 ofthe
18    Immigration and Nationality Act(8 U.S.C. 1101));
19          60. (B) an alien lawfully admitted for permanent residence in the United States
Zo (as that term is defined in section 101 ofthe Immigration and Nationality Act(8 U.S.C.
21    1 101));
22   (C) a stateless person whose habitual residence is in the United States; or
23   (D) present in the United States.
24   (~ Nonapplicability of Certain Limitations.
25    Notwithstanding section 3282, in the case of an offense under this section, an indictment
26    may be found, or information instituted, at any time without limitation.
2~           All actions by Plaintiff listed in this Demand and Complaint fall under this
2s     .S. Code &1096 Genocide.

                                                 15
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 l              EIGTH CAUSE OF ACTION: LIABILITY OF UNITED STATES
 2                                 (28 U.S. CODE ~ 2674)and
 3        ADMINISTRATIVE ADJUSTMENT OF CLAIMS 28(U.S. CODE ~ 2672)
 4   Liability of the United States for criminal activities perpetrated against Tara
 s   McCluskey E1 by the Defendants acting on behalf of the State of California and the
 6   United States.
     Listed below are the coinciding California State Law Violations
 8            61.   Daniel Lopez, an acting Magistrate ofPomona Superior Court is an
 9   employee ofthe United States
io            62.   James G.Perry, the acting Prosecutor is and was an employee ofthe United
11   States
12            63.   Jackie Lacey,the acting District Attorney is and was an employee ofthe
13   United States
14            64.   Loretta Lynch,the acting acting Attorney General ofthe United States was
15   an employee ofthe United States.
16   DEPRIVATION OF RIGHTS UNDER COLOR OF LAW IN VIOLATION OF TITLE
17   18 U.S.C.§242 is also a violation of:
is   CALIFORNIA STATE LAW Civil Code 52.1 (b)(c)
19            65.   (b)Any individual whose exercise or enjoyment of rights secured by the
20   Constitution or laws ofthe United States, or of rights secured by the Constitution laws of
21   this state, has been interfered with, or attempted to be interfered with, as described in
22   subdivision(a) may institute and prosecute in his or her own name and on his or her
23   own behalf a civil action for damages,including, including but not limited to,
24   damages under Section 52,injunctive relief, and other appropriate equitable relief
25   to protect the peaceable exercise or enjoyment of the right or rights secured,
26   including appropriate equitable and declaratory relief to eliminate a pattern or practice of
27   conduct as described in subdivision
28


                                                16
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 1          66.   (c)An action brought pursuant to subdivision(a)or(b) may be filed either
 2   in the superior court for the county in which the conduct complained of occurred or in the
 3   superior court for the county in which a person whose conduct complained of resides or
 4   has his or her place of business.
 5   KIDNAPPING IN VIOLATION OF 18 U.S.C. 1961 IN VIOLATION OF 18 U.S.C.
 6   §1961 RACKETEERING are also violations of CALIFORNIA STATE LAW
      PENAL CODE 207(a)(c) AND PENAL CODE 210 RANSOM MONEY
 s         67.
 9     (a)Every person who forcibly, or by any other means of instilling fear, steals or takes,
io          or holds, detains, or arrests any person in this state, and carries the person into
11          another country, state, or country or into another part ofthe same county, is guilty
12          ofkidnapping.
13     (b)Every person who forcibly, or by any other means of instilling fear, takes or holds,
14          detains, or arrests any person, with a design to take the person out ofthis state,
15          without having established a claim, according to the laws ofthe United States, or
16          ofthis state, or who hires, persuades, entices, decoys, or seduces by false promises,
17          misrepresentations, or the like, any person to go out ofthis state, or to be taken or
is          removed therefrom, for the purpose and with the intent to sell that person into
19          slavery or involuntary servitude, or otherwise to employ that person for his or her
20         own use, or to the use of another, without the free will and consent ofthe
21          persuaded person, is guilty of kidnapping.
22   PENAL CODE ~ 210
23         68.    Every person who for the purpose of obtaining any ransom or reward, or to
24   extort or exact from any person any money or thing of value, poses as, or in any manner
25   represents himself to be a person who has seized, confined, inveigled, enticed, decoyed,
26   ~' abducted, concealed, kidnapped or carried away any person, or who poses as, or in any
2~   manner represents himself to be a person who holds or detains such person, or who poses
Zs   as, or in any manner represents himself to be a person who has aided or abetted any such

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 1   ~ act, or who poses as or in any manner represents himself to be a person who has the
 2   influence, power, or ability, to obtain the release ofsuch person so seized, confined,
 3   inveigled, enticed, decoyed, abducted, concealed, kidnapped or carried away, is guilty of
 4   a felony and upon conviction thereof shall be punished by imprisonment for two,three or
 5   four years.
 6   HUIViAN TRAFFICKING IN VIOLATION OF RICO ACT 18 U.S.C. § 1582 —
     VESSELS FOR SLAVE TRADE, 18 U.S.C. §1581 PEONAGE;OBSTRUCTING
 s   ENFORCEMENT AND U.S.C. § 1584 SALE INTO INVOLUNTARY SERVITUDE is
 9   also a violation of CALIFORNIA PENAL CODE 236.1 (a)
10          ~~

11     (a)A person who deprives or violates the personal liberty of another with the intent to
12    obtain forced labor or services[TREE FARM],is guilty of human trafficking and shall
13   be punished by imprisonment in the state prison for 5, 8, or 12 years and a fine of not
14   more than five hundred thousand dollars($500,000).
15   B.     Damages
16          70.    But for the James G. Perry, Daniel Lopez, Jackie Lacey, and Defendants
17   DOES 1-50 refusal to drop this farce of a case against Plaintiff, she would have gone on
18   with her life as it was taken off. She had just obtained a Lexus SC430, a new job at the
19   top commodities firm in Beverly Hills along with a new residence Plaintiff was to move
20   into in 3 days. Back on track pulling all things together in her life to launch Plaintiffs
21   global digital media network with a gripping story under the belt for the first series of
22   The Grind Show Online, titled after the name of Plaintiffs Global Media Network,
23   Plaintiffs life was turned upside down and sent into a downward spiral by the
24   fraudulent and malicious premeditated evil acts ofthe Defendants. This premeditated evil
25    act carries a cost in excess of $7,000,000.00 to the Plaintiff and Plaintiffs Estate.
26          71.    Loss of vehicle due to loss ofemployment $30,000.00
2~         72.     False imprisonment/Jail $3,000,000.00 to the Plaintiff and Plaintiffs Estate
28         73.. Pain and Suffering, Plaintiff went into shock and grief due to the malicious

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      Premeditated acts ofthe Defendants. She was mistreated by family members who could
      not understand that Plaintiff was extremely traumatized by the wicked diabolical
      premeditated acts against Plaintiff that extremely affected Plaintiffs ability to recover and
      transition back to normalcy in her life. She was ashamed from being jailed and put into
 ~~   bondage and involuntary slavery. Plaintiff had a high class life amidst very important
      people she does business with and she was ashamed of how they would see her as she
      was psychologically and emotionally traumatized by the diabolical acts ofthe
      Defendants, so she could not reach out to her colleagues and business contacts for
      business. Her life went into a downward spiral due to this conspiracy as she had just
10    gotten her life back on track from the first unlawful lockup and loss ofemployment from
~l    the first unlawful arrest and had new employment and was set move to Beverly Hills
12    Territory the week she was maliciously and fraudulently arrested. Plaintiff has suffered
13    extreme trauma from this horrible injustice from this de facto agents ofthe United States
14    and State of California.
15                                    DEMAND FOR RELIEF
16          74.          WHEREFORE,Plaintiff pray for judgement, as follows:
17          75.Plaintiff Tara McCluskey El and Plaintiffs Estate TARA MCCLUSKEY pray
18             for compensatory, general and special damages in excess of $7,030,920.00
19          76. Plaintiff Tara McCluskey El and Plaintiffs Estate TARA MCCLUSKEY pray
20          for punitive damages, based on genocide, operating under color of law,
21          kidnapping, slander, defamation of character, oppression, malice and all actions
22          brought in this complaint, according to Defendants' net worth being a branch of
23          the Roman Curia, Vatican which is holding most ofPlaintiffs ancestors and the
24          world's wealth; and of revenue obtained from imposed economic and mental
25          slavery on African American/ Black people through the operation of Christian
26          Black Codes which were used and instituted to enslave Plaintiff which includes the
27          14th amendment fraud.
28


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                  77.Plaintiff Tara 1V~ ,-, luskey E1 and Plai
                                                               ntiffs Estate, TARA MCCLUSKEY,
                     TARA MCCLUS~EY EL prays for Law
                                                                    yer fees, costs and interest; and
      3          78.Plaintiff and Plaintiffs Estate TARA
                                                              MCCLUSKEY pray for such other and
                 further relief as the court deems just and
                                                               proper.
                 79.Plaintiff will accept currency, goods,
                                                               services, land transferred back to her
                 Estate of her selection in its allodial stat
                                                              us, Property "by Plaintiffs selection"
                 transfer attached to land back to her Esta
                                                              te in its allodial title with all air rights,
                 mineral rights, water rights, land rights abo
                                                                  ve and beneath the ground as her
                rightful heirship, travel conveyances perf
                                                               ect clear title transferred to Plaintiff,
 io             Plaintiffs Estate as Plaintiff will indicate
                                                             , and money as well as all mentioned in
 11             this paragraph 5 ofDemand for Relief as
                                                               settlement ofPlaintiffs claim all things
 12             and matters perpetual to her assigns, heirs
                                                                 or beneficiaries as she sees fit.
 13            80.Plaintiff demands all rights of profits of
                                                                  the land use of her ancestral estate to
 14            the rightful heirs and the release from capt
                                                                ivity of unjust prisoners in prisoner of
 15            war camps,their comfortable rehabilitati
                                                              on and restoration.
 16            81.Plaintiff demands all debts and encumb
                                                               rances and liens on all members of her
 ~~            family "who are American and Noble by
                                                              birthright whether they acknowledge it or
is             not, it is being acknowledged for them now
                                                                  on their behalf whether they are
19            suffering from indoctrination since birth of
                                                                 these facts by consistent brainwashing
Zo            and Stockholm syndrome" be released imm
                                                               ediately and the allodial rights
21            transferred to their estates along with the
                                                             due profits from the use oftheir lands and
22            properties be transferred to them immediate
                                                                 ly via their choice ofcurrency,
23            monetary or other means of compensation
                                                               as listed in paragraph 5 ofthis demand
24            section along with all of our perpetual prot
                                                               ection from harm or retaliation.                I
25           82.This demand includes for Plaintiffs Mot
                                                               her, an American, legal status: white        '~
26           woman,the mother of Tara McCluskey E1,
                                                                a Noble,"the Plaintiff' for her Mothers
2~           estate, two million dollars, the immediate rele
                                                                   ase of all debts, encumbrances and
28           liens "including her home" transferred to
                                                            allodial property rights for all property

                                                       20
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 1         "real and otherwise" into Plaintiffs Mothers estate who was severely injured
 2         severely because a fall on the sidewalk which injured her face as she had to rush to
 3         the defacto court as her daughter, Tara McCluskey El, a Noble was locked up,
 4         kidnapped for refusing to waive her rights by signing a faretta. waiver and refusing
 5         to step behind as the the bar as the defacto colorable court had no jurisdiction and ~
 6         falsely being called hostile when she showed up against her will as she was
           threatened is she did not it would result in a bench warrant by Adewale A. Oduye,
 s         an acting defacto district attorney.
 9         83.This includes a house of choice for her brother, an American, legal status: white
io         man and all land and air rights and choice of motor conveyance transferred to his
1~         estate as he was also injured by this assault against his sister, Tara McCluskey El,
12         Noble., customized to his choice with clear perfect title and a large sum of
13         financial spendable compensation.
14         84.Tara McCluskey El, a Noble, Plaintiff does hereby assert an Adverse claim
15         against any claims or liens against her or any member of her families estates.
16   CERTIFICATE OF SERVICE DELIVERY DATES
l~         85.    The Honorable President Barack Obama December 20, 2016
is            • Registered Mail: RE985226280US Received December 20,2016
19            86. The Honorable Loretta Lynch- Attorney General
20            • Registered Mail: RE985226276US Received December 21,2016
21            87. Kamala D. Harris Office of The Attorney General
22            • Registered Mail: RE985226262US Received December 19,2016
23            88. The Office of Management and Budget Received via fax: 12/13/2016
24            89.. Office ofthe United Nations High Commissioner for Human Rights
Zs           (OHCHR)
26            • Received via email electroically December 13,2016
2~            90. A copy was hand delivered to: Wade Olsen (Magistrate) via Ms. Dela Cf
28


                                               21
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              • Received via/ by Clerlt/Manager: Gloria Garcia on November 28,2016
 2                 at 4:08pm PST.
 3         91.     ALL PARTIES ABOVE WERE DELIVERED PLAINTIFF'S DEMAND
 4   AND DID NOT RESPOND AT ALL WITH THE EXCEPTION OF Kamala D. Harris
 5   who did mail a reply instructing to file a lawsuit.(Kamala D. Harris reply is an
 6   amendment)
 7

 8               DEMAND FOR IMMEDIATE REDRESS,RESTITUTION AND
 9   COMPENSATION AS LISTED IN THE DEMAND FOR RELIEF SECTIONS 1-7
to     ON PAGES 18-19.OF THIS COMPLAINT AND DEMAND OR JURY TRIAL '~
~1         92.     Plaintiff hereby demands monetary compensation pursuant to 28 U.S. CODE
12   § 2674 LIABILITY OF UNITED STATES,28 U.S. CODE § 2672 ADMINISTRATIVE
13   ADJUSTMENT OF CLAIMS or Jury Trial pursuant to The Seventh Amendment ofthe
14   United States Constitution, The Treaty ofPeace and Friendship and The Bill of Rights.
15

16   I declare and affirm to the above mentioned facts and events in this Affidavit that they
17   true and correct .
18   Amended:
19   DATED: January 17, 2017                                Tara McCluskey El
Zo   Amended: November 26, 2018
21   Reinstated                                             By:            /     `'
22                                                          Tara McCluskey E1;~ Noble
23                                                          In Propria Persona,Sui Juris, Sui Heredes
24                                                          Jus Soli, Jus Sanguinis,Jus Recuperandi
Zs                                                          All Rights Reserved and retained UCC 1-3
26            • I reserve the right to amend this Affidavit-Demand-Complaint at any time with new or substantiating

27                evidence, or any information I find fit or irrelevant.

28



                                                  22
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                   Treaty of Peace &Friendship
                          1787
           Between Morocco and Tie United States
    TO ALL PERSONS TO WHOM THESE PRESENTS SHALL COME OR BE MADE KNOWN-
  WHEREAS THE UNITED STATES OF AMERICA IN CONCCRESS ASSEMBLED BY THEIR
  COMM1SSlOIV BEARING DATE THE TWELFTH DAY OF MAY 01VE THOUSAND, SEVEIV-
  HUNDRED AND EIGHTY-FQUR THOUGHT PROPER TO CONSTITUTE .10HN ADAMS, BEN-
  JAM1N FRANKLIN AM1ID THOMAS .JEFFERSON THE(R   MINISTERS PLENIPOTENTIARY,
  GIVING TO THEM OR A MAJOR[TY fJF THEM FULL POWERS TO CONFER,TREAT & NEGO-
  TIATE WITH THE AMBASSADOR, MINISTER OR COMM1SSlONER OF H(S MAJESTY THE
  EMPEROR OF MOROCCO CONCERNING A TREATY OF AMITY AND COMMERCE, TO
  MAKE & RECENE PROPOSITIONS FOR SUCH TREATY AND TO CONCLUDE AND SIGN
  THE SAME, TRANSM1TTiNG TO THE UNITED STATES [N CONGRESS ASSEMBLED FOR
  THEIR FINAL RATIFICATION.


     AND BY ONE OTHER COMMISSION BEARING DATE THE ELEVENTH DAY OF MARCH
  ONE-THOUSAND SEVEN-HUNDRED &EIGHTY-FIVE DID FURTHER EMPOWER THE SAID
  MINISTERS PLENIPOTENTIARY OR A MAJORITY OF THEM, BY WRITING UNDER THE
  HANDS AND SEALS TO APPOINT'SUCH AGENT 1N THE SAID BUSINESS AS THEY MIGHT
  TH(NK PROPER W[TH AUTHORITY UNDER THE DIRECTIONS AND 1NSTRUCTlON OF THE
  SAID MINISTERS TO COMMENCE &PROSECUTE THE SAfD NEGOTIATIONS & CONFER-
  ENCES FOR THE SAID TREATY PROVIDED THAT THE SA[D TREATY SHOULD BE SIGNED
  BY MINISTERS: AND WHEREAS, WE THE SAID JOH1V ADAMS &THOMAS ,JEFFERSON
  TWO OF THE SAID MINISTERS PLENIPOTENTIARY (THE SAID BENJAMIN FRANKLIN BE-
  (NG ABSENT) BY WR1TiNG UNDER THE HAND AND SEAL OF THE SAID ~l0}-fN ADAMS AT
  LONDON, OCTOBER F1FI"H, ONE~THOUSAND SEVEN-HUNDRED AND EIGHTY-FIVE, &
  OF THE SAID THOMAS.1EFFERSON AT PARIS OCTOBER THE ELEVENTH OF THE SAME
  YEAR, DID APPOINT THOMAS BARCLAY, AGEI~IT IN THE BUSINESS AFORESAID, GlVtNG
  H(M THE POWERS THEREIN. WHICH BY THE SAID SECOND COMMISSION WE WERE AU-
  THORIZED GO GIVE, AND THE SAID THOMAS BARCLAY iN PURSUANCE THEREOF, BATH
  ARRAI`IGED ART(CL.ES FOR A TREATY OF /AMITY AND COMMERCE BETWEEN THE
  U NITED STATES OF AMERICA AND H)S MAJESTY THE EMPEROR OF MOROCCO 8c
  SEALED WITH HIS ROYAL SEAL, BEING TRANSLATED INTO THE LANGUAGE OF SAID
  UNITED STATES OF AMERICA, TOGETHER W(TH THE ATTESTATIONS THERETO RN-
  NEXED ARE 1N THE FOLLOWING WORDS,TO WIT:

  (N THE NAME ~F` ALMIGHTY GOD.

     THIS IS A TREATY OF PEACE AND FRIENDSHIP ESTABLISHED BETWEEN US AND
  THE UNITED STATES OF AMERICA, WHICH 1S CONFIRMED, AND WHICH WE HAVE OR-
  DERED Td BE WRITTEN f{V THE BOOK AND SEALED WITH OUR ROYAL SEAL AT OUR
  COURT OF MaROCCO It~I THE TWENTY-FIFTH DAY OF THE BLESSED MONTH OF SHA-
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           BAN, 1N THE YEAR ONE~TH4USAND TW~-HUNDRED, TRUSTWG 1N GOD IT WILL REMAIN
           PERMATriENT.

        ARTT         1
        `'~'e declare that loth Parties have ~gi-eec~ that this Treaky consisting of twenCy five Articles shall be in-
        serted in this Book and delivered to the Honot-able Thomas Barclay, the Agent of the ti~uted Sates no~~v
        at our Curt, w~~h whas~ Approbation it has been made a.nd who is duly authorized nn their part, to treat
        with us concerning all the matters contained therein.

         A~TIGI.E 2
         If either ~f the parties shall be ~.t war ~~th anv nation whatever, the other party shad nat take a coiYunission
         from the enemy nor fight under their colors.

         ARTICI~.3
         If eit~ier of the parties shall be at w ar with any nation v~~hatever and take a prize belonging to that nation,
         and t~iere shall be fc~unc~ on board subjects or effects belonging to either of t~~e parties, the subjects shall be
         set at liberty and the effect retained to the owners. And if any goods betongulg to any nation, with whom
         either the parties shall be at vvar, shall be loaded on vessels belongir~ to the other party, they shall pass free
         and uiunolested without any attempt being made to take or detain them.

         ART'IC,;LE ~
         A signal or pass shall be given to all vessels ~el~nging to both parties, by which they are to be known when
         they meet at sea, and if the commander of a ship of ~~dr of either party shall have other ships under his
         convoy, the Declaration of~ the conunander shall .lone be suf~icier~t to exempt any of them from exaniina
         tion.

         AR1~CI~      5
                __..__._
         If either of the parties shall be at war, anc~ shall meet a vessel at sea, belonging to the other, it is agreed that
         if an exa~nulation is to he made, it shall ~e do~ie by sending a boat with two or three meii onh~, and if any
         gun shall be bread and injurs~ done without reason, tie of~ei~ding party shall make good all damages.

         ARTI~6
         If any Moor shall bring citizens of the united States or their effects t~ His Majesty, khe citizens shall imme-
         diately be set at l~b~erty and the effects restored, and ui like manner, if any Moor not a subject of the do-
         nvnions shall make prise of and of the cit~ens of.America or their effects and br~Ig them inbo any of the
         ports of His Majesty, they shall be inu~ediately released, as they will be considered as under His Majesty's
         Protection.

         .A~tTICL.E 7
         If~ any vessel of either party shall put into a port of the other and have occasion for provisions or other sug-
          plies, they shall l~ funushed without any intemiptivn or molestation.

         ARTICLE.8
         If~ any vessel of the LTniGec~ States sha11 meetwide a disaste2- at sea and ~~ut into one of our ports to re~ai~-s,
         she shall be at liberty to land a.nd reload her cargo, Evith~ut paying any duty whatever.

         ARTICLE 9
         If an}~ Vessel of the Untied States shall be cast on Shore on any Part of our Coasts, she shall remain at the
         disposition of t~ze Ch~lers acid no vne shall attempt go~~ near her without their Approbation, as she is
         then considered particularly under our Protection; and if any Ve~sei of the LJnit~d States shall be forced to
         put in to our Ports, by Stress of weather or otherwise, she shall not be compelled to land her Cargo, but
         shall remain in tran+quilityy Luxtil the Corn~nauider shall think. proper to proceed on his Voyage.
~- '=
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ARTIC~ 1Q
If at~y Vessel of either of die Paxties Shall have ~n eas ement with a Vessel l~elon~in~ to any of the Chr s-
tian Pa~~vers within gunshot of the Forts of the other, the Vessel so engaged shall be defended and pro-
tested as much as possible until she is in safety; and if any America~l Vessel shall be cast on shore on the
Coast of Wadnoon or any Coast thereabout, the People to her shall be protected, and assisted until by
the help of +God, the}~ shall be sent to their Country.
ARTICLE 11
If we shall be at War v~~ith any Christian Power and ally of our Vessels sail from the Ports of the Uiuted
States, no Ve~.sel t~elonging to the enemy shall fallow until twenri~ four hours after the Departure of our
Vessels; and the same Regulation sha.(1 be observed tow~aY-ds the American Vessels sailing from our Ports--
be the enemies Moors or Christians.
ARTICLE 12
If any ship of «•ar belonging to the U~uted States shall put into any of otu- ports, she shall not be exa.n~ied
nn airy pretense whatever, even thott~;h she should have fugitive slaves on board, ilor shall the governor or
commander of the place eom~el t~lem to be brought on shore vas ~~y pretext, nor require any payment
for them.
ARTICLE I3
If a s~u~ cif war of either party shall but into a port of the ether anci salute, it shall he retiu~ned from tote
fart with an equal number ~f Buis, not with mire ar Iess.
ARTICLE 14
The commerce with the United States shall ~~e on the same footing as is the commerce with Spain, or as
that with the most favored nation for the tuYte being; and their citizens shall be respected anti esteemed,
and have dull liberty to pass a.~zd repass our country and seaports whenever they please, without interrup-
ti~n.
 ARTICLE 15
 Merchants of both countries shall employ only such interpreters, and such other persons to assist them in
 their business., as they shall thuik proper. No conunander of a vessel shall transport. his cargo on board
 another vessel; he shall tzot be detained in ~rt longer than he may think proper; and all persons em-
 ployecl in loading or unloading; g~~c~s, or ui any labor wlia.tever, shall be paid at the customary rates, not
 more and not less.

~r11V1~ ~~

In case of a war between the parties, the prisoiY~rs are not to be made slaves, but to he exchanged one for
another, ca.~t~vn for captain, officer far officer, anti one private maxi for another; and if there shall prove a
deficiency on either side, it shall be made up ~y ~~e payment of one hundred Mexican dollars for each
~ers~n wanting. Anti it is agreed that all prisoners shall be exchanged in twelve months from the time of
their being taken, at~d that this exchai~~;e may be effected by a merchant or any other person authorized of
by either of the parties.

 ARTICLE 17
 Merchants shall not be compelled t~ l~uy or sell aT~y kind of~ ~ccx~ci~ but such as they s~~all think proper;
 and may buy and sell all sorts of merchandize but such as are prohibited to the other Christian nations.

$$~~I.E 18
,111 ~ac~c~.s s~~all be ~Teig~ied and eYunined before they are sent on ~~ard ,and to avoid all detention of
~~essels, no exarriination shall aftel~vard.~ be made, unless it shad first be p~-ovec~ that contraband g«ids
have been sent on board, in which case, the persons who took the contraband goods on board, shall be
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punished accorcling to the usage and custom of the eountry~, and no other Berson whatever shall be in-
jured, nor shalt the ship ~r cargo incur any penalty or damage whatever.

ARTI~..E 19
Nc~ vessel shall be detained import nn ~iy pretense whatever, nor be obliged to take on board on any arti-
cles without the consent of the commander, who shall be at full lii~erty to agree for the freight of any goods
he takes on board.

ARTICLE 2a
If any of the citizens of the Untied States, or any persons antler their protection, shall have any clisputes
with each other, the consul shall decide between the paarties, and whenever the consul shall require any aid
or assistance from our government, tc~ enforce his decisions, it shall be. unmec3iately granted to hum.


ARTICLE 21
If any citizen of the Untied States should kill or wound a Moor,or, on the contrary, if a Moor shall kill or
wound a cirizen of the United States, the law of the country shall fake place, and equal,justice shall be ren-
dered, the consul assisting at the trial; a;~d if any delinq~~ent shall male his escape, the consul shall not be
answerable foz• l~im in anv mariner v~~hatever.

ARTIC'L.E 22
If an America.ii citizen shall die in owr country, and Y~o ~~ill shall appear, the consul sh~.11 take possession of
hi at~eCts; and it there shall ~ nee consul, the et~ects shall b~ deposited in the hands of some person wor-
thy of trust, until the paxty shall appear, who has right to demand them; but if the heir to the person de-
ceased be present, the property shall lie delivered to him without interruptions; and if a will shall appear,
the ~i-operty shall descend agreeable to that will as soon as the consul shall declare the validity thereof.

AR'I~      ~,2t3
The consuls of the United States ~f America, shall reside in any port of our dominions that they shall
think pr~~er; and they shall lie respected, and enjr~y all the privileges which t ie consuls of any other na-
hon enjoy; and if any of the citizens cif the t.Tnited States shall contract any debts or engagements, the con-
sul shall not be in any manner accountable for them, unless he shall have given a promise in vc~-iting for the
payment ar fitifilling thereof, tii~ithout w~uch promise in ~F~ting, no application to him for any redress shall
be made.

ARTICLE ~4
If any clifferences sha11 arse by either party infiing~ing an any of the articles of this treaty, peace and har-
mony shall remain notwwithstanding, in the fullest force, until a friendly application shall be rr~ade for an
arrangement, and tuitil that application shall lie rejected, no appeal shall be made to anus. And if a war
sha11 break out between the parties nine months shall be granted to all the subjects ~f hc~th parties, to dis-
~xase of their effects and retire wit~i t~ieir pro~ei-ty. ~1nd it is further declared, that whatever indulgences, in
ti-a.de or athervvise, shad be •anted to any of the Christian Pov~Ters, the citizens of the United Stites shall
be equally entitled to them.

.AR'I'~GI.E 2,5
This treaty shall continue in full force,. ~c~th the help of God,fnr fifty years. VVe delivered this bcx~k into
the hands of the before mentioned Thomas $az-clay, can the first day of the blessed month of Ramadan,in
the year one thousand two hundred.

   I certifiT that the annexed is a true rop`~ of the translation made by Isaac Cardona Nunez, interpreter at
   ~V1c~rc~ccc~, of the treaty bet~~~een the Emperor cif 11~ioroceo auld the thiited States of America.

                                                                                  THUMA.S BARCLAY.
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~DI-rlo~v~.~~ci.~
Grace to the only God.

        I, tie in~der-written, the servant of ~cxi, Taher ~3en Abc~elk~ck Feruush, do certifiT, that His Inr
 Aerial Majesty, my master, (wht~l7] (iOCI DUIeSE11~eJ, having concluded a treaty of peace and coi-~lmerce
 with the United State, cif America, has ~rclereci iue, the better to complete, it, arld in addition ~f the
 tenth article of the treaty, tc~ declare, "rI'hat if any vessel belon~iilg to the Lliuteci .States, sha}l be in any of~
 the ports of his Majes~r's domi~uon.5, oi- within dun-shat of his forts, she shall be protected as much as
 possible; anc~ no vessel whatever, helt~ngi~~g either to Moorish ~r Christian Pov~•ers, ~~vith ~-hom the
 thlitec~ St~~te~ may be at wear, s~iall be ~~ermittec~ to follow car engage bier, as we now deem the citizens of
 11i11~I1C1 (lUl~ ~,YX)C~ ~11~I1t~S."

        A.nd, in oi~eciie~lc:e to this Majest~r's commands, I certifi~ this declaration, ley putting my h-~nd and
 seal to it, vn the eighteenth day of Ra.inadan,(~ in the ~~ear one thousand two hundred.
        The servant of the King, n3y~ i;raster, wham Cad preserve.
                                                                   TAHF.]Et BF.N ABDELKACK FENNISH.

        I do certify that the a~xnre is a true coUy of the tr~lsla~ion ma~Ie at Morocco, b}~ Is~:c Cordora.
 Nunez, uitei-pretec, ~f a declaration made and signed by Sidi Hit e Taber Fei~nish, in addition. to the
 trea~~ ~iet~veen the ~:mperox cif':1~oroccc~ and the LTiuted States of America, which declaration the said
 Tiler Fennish made by t~~e express ~ireetions of~ his 1~lajest~.

                                                                                           THOMAS BARCLA.Y.



TREATY WI'T~3 MOROCCO. 1787

  Now, KNOW Z'E, That we, the said John ,°~c~ams and Thorna4 Jefferson, Ministers Ptenipote~itiary
aforesaid, coo approve a.nd cc~ixclude the said treat~~, ai d et-~ery article quid clause therein contained, reserv-
ii~~ the same nevertheless t~ the Untied States in Congress assembled, #Ur their final ratificakion.
 In testimony whereof, we have si~~ecl the same ~~ith our names uld seals, at the places of~ o«r respective
residence, and at t ie dates expressed unciez- ottr signattu-es resj~ectively.

                                                                             JOHN ADAMS,                        (L.s.)
                                                                             I~~I1do11,,J~717Z1~~t~f2~rh, 1%$7,

                                                                             THOMASJF.FFF~ZSON,                (I..S.}
                                                                             P~s,.j~r~u~~ 1st, 1787.
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C~~~~n~
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       From Documents of American History


                     LETTER FROM GEORGE WASHINGTON TO
                  MUHAMMED IBN ABDULLAH---SULTAN OF MOROCCO
                                                 —City of New York December 1, 7789


        GREAT AND MAGNANIMOUS FRIEND,

              Since the date of the letter which the late Congress, by their President, ad-
       dressed to your Imperial Majesty, The United States of America have thought
       proper to change their government and institute a new one, agreeable to the
       ConstiCution, of which I have the honor, herewith, to enclose a ropy. The time
       necessarily employed in the arduous task, and the disarrangements occasioned
       by so great though peaceable a revolution, will apologize, and account for your
       Majesty's not having received those regularly advised marks of attention from
       the United States which the friendship and magnanimity of your conduct toward
       them afforded reason to expect.
              The Unfted States, having unanimously appointed me to supreme executive
       authority in this Nation. Your Majesty's letter ofmAu ust 17, 1788, which by rea-
       son of the dissolution of the late-government, remained unanswered, has been
       delivered to me.I have also received the letters which Your Imperial Majesty has
       been so kind as to write, in favor of the United States, to the Bashaws of Tunis
       and Tripoli, and I present to you the sincere acknowledgements and thanks of
       the United States for this important mark of your friendship for them.
               We greatly regret the hostile disposition of those regencies toward this na-
       tion, who have never injured them,is not to be removed, on terms of our power
       to comply with. Within our territories there are no mines, wither of gold or sil-
       ver, and this young nation just recovering from the waste and dissolution of a
       long war, have nat, as yet, had time to acquire riches by agriculture and com-
       merce. But our soil is bountifiul, and our people industrious, and we have reason
       to flatter ourselves that we shall gradually become useful to our friends.
          The encouragement which Your Majesty has been pleased, generousl to give
       to our commerce with your dominions, the punctuality with which you have
       caused the Treaty with us to be observed, and the just and generous.measures
       taken in the case of Captain Proctor, make a deep impression on the United ~P~~,,~ `,~
       States and confirm their respect For and attachment to Your Imperial Majesty. ~'~^~ E"~"~
       r                                                                                   yc~..~rv~~e.
          It gives me great pleasure to have the opportunity of assuring Your Majesty
       that, while I remain at the head of this nation, I shall not cease to promote every
       measure that m conduce to the friendship and harmony which so happily sub-
                                                                                       .~.
       sist betwee ~ our mpire and them,and shall esteem myself happy in every oc-
       casion of convincing Your M~~esty of the high sense (which in common with the
       whole nation) I entertain the magnanimity, wisdom and benevolence of Your
       Majesty.
          May the Almighty bless Your Imperial Majesty, our Great and Magnanimous
       friend, with His constant guidance and protection.

                                                                    --GFoncE WASHrxc~ory
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                                                        .~


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                                                   r ~~~
                                      The Holy See


                                        APQSTOLIC LETTER
                                      ISSUED M4TU PR~PRl4

                                    OF THE SUPREME PONTIFF
                                                FRANCIS


        ON THE JURISDICTION OF JUDICIAL AUTHORITIES OF VATICAN CITY STATE
                               N CRIMINAL MATTERS




In our times, the common good is increasingly threatened by transnational organized crime, the
improper use of the markets and of the economy, as well as by terrorism.

It is therefore necessary for the international community to adopt adequate 4egal instruments to
prevent and counter criminal activities, by promoting international judicial cooperation on criminal
matters.

In ratifying numerous international conventions in these areas, and acting also on behalf of
Vatican City S#ate, the Holy See has constantly maintained that such agreements are effective
means to prevent criminal activities that threaten human dignity, the common good and peace.

With a view to renewing the Apostolic See's commitment to cooperate to these ends, by means of
this Apostolic Letter issued Motu Proprio, I establish that:

1. The competent Judicial Authorities of Vatican City State shall also exercise penal jurisdiction
over:

al rrimPc rnmmittPri anain~t the cP~i irity tha fi rnrlamantal intPrP~tc nr the natrimnnv of the Hnly
    Case 2:18-cv-09884-R-PLA Document 1 Filed 11/26/18 Page 33 of 62 Page ID #:33
                                                                                                    2
b)crimes referred to:

- in Vatican City State Law No. VlI1, of 17 July 2013, containing Supplementary Norms on Criminal
Law Matters;

 in Vatican City State Law No. IX, of 11 July 2013, containing Amendments to the Criminal Code
and the Criminal Procedure Code;

when such crimes are committed by the persons referred to in paragraph 3 below, in the exercise
of their functions;
c)any other crime whose prosecution is required by an international agreement ratified by the
Holy See, if the perpetrator is physically present in the territory of Vatican City State and has not
been extradited.
2. The crimes referred to in paragraph 1 are to be judged pursuant to the criminal law in force in
Vatican City State at the time of their commission, without prejudice to the general principles of the
legal system on the temporal application of criminal laws.

3. For the purposes of Vatican criminal (aw, the following persons are deemed "public officials"

a)members, o~cials and personnel of the various organs of the Roman Curia and of the
Institutions connected to it.

b)papal legates and diplomatic personnel of the Holy See.

c)those persons who serve as representatives, managers or directors, as well as persons who
even de facto manage or exercise control over the entities directly dependent on the Holy See and
listed in the registry of canonical juridical persons kept by the Governorate of Vatican City State;

d)any other person holding an administrative or judicial mandate in the Holy See, permanent or
temporary, paid or unpaid, irrespective of that person's seniority.
4. The jurisdiction referred to in paragraph 1 comprises also the administrative liability of juridical
persons arising from crimes, as regulated by Vatican City State laws.

5. When the same matters are prosecuted in other States, the provisions in force in Vatican City
State on concurrent jurisdiction shall apply.

6. The content of article 23 of Law No. CXIX of 21 November 1987, which approves the Judicial
Order of Vatican City State remains in force.

This I decide and establish, anything to the contrary nofinrithstandinq.
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L'Osservatore Romano, entering into force on 1 September 2413.

Given in Rome, at the Apostolic l~'alace, on 77 Ju1y2073, the first of my Pontificate.




                                           FRANCISCUS




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XLVIII World Day ofPeace 2015: No..




                                              MESSAGE OF HIS HOLINESS
                                                  POPE FRANCIS
                                           FOR THE CELEBRATION OF THE
                                             WORLD DAY 4F PEACE

                                                      1 JANUARY 2015
                                                                         HERS AND SISTERS
                            NO LANGER SLAVES, BUT BROT


                                                                                                                  humanity, I
                         ing  of thi  s Ne w  Yea  r,  whi  ch   we  welcome as God's gracious git~ to ail
    1. At the beginn                                                                                  s peoples and nations,
                   elt  wis hes  of  pea  ce to  eve  ry   man and woman, to al! the world'
    offer  hea rtf                                                                                          for an end to
                            and  gov  ern  men  t, and    to  rel igious leaders. In doing so, I pray
    to heads of sta     te                                                                                                sent,
                                           suf fer ing  cau   sed   by  hum  an  age ncy, by epidemics past and pre
    wars, conflicts and the great                                   asters. I pray especially that, on the
                                                                                                                basis of our
                        ast ati on  wro  ugh  t by  nat  ura l  dis
    and by the dev                                                                               the advancement of
        mm on   call  ing to  coo per  ate  wit h  God and all people of good will for                          unworthy of
    co
                            ce in  the   wor ld,  we   ma   y  resi st the temptation to act in a manner
     harmony and pea
     our humanity.
                                                                                                                            ging
                                             yea r,  I spo   ke  of "th  e des ire for a full life... which includes a lon
     In my Message for Peace last                                                                         them not as
                            ch dra  ws   us to  fel low  shi p  wit h others and enables us to see                           by
     for fraternity whi                                                 be acc  ept ed and embraced".[1] Since we are
                                           the rs  and    sis ter s to
     enemies or rivals, but as bro                                                                         onships inspired by
                         al bei ngs  , mea  nt  to fin  d  ful fil ment through interpersonal relati
      nature relation                                                                          our dignity, freedom and
                                                   for our human development that
     justice and love, it is fundamental                          Tragically, the growing scourge of
                                                                                                             man's exploitation
                        ack  now led   ged  and   res  pec  ted .                                                    relations
      autonomy be                                                       and  our calling to forge interpersonal
                                      s the  life of  com   mun   ion
      by man gravely damage                                                                              leads to contempt for
                                    tic e and   lov e.  Thi  s abominable phenomenon, which
      marked by      res pec t, jus                                                                               y, takes many
                                     of  oth ers  and    to  the  sup  pre ssion of their freedom and dignit
      the fundamental rights                                                                           word, we can consider
                       ld like brie  fly to con  sid er  the  se, so that, in the light of God's
      forms. I wou
                                                slaves, but brothers and sister.'.
      all men and women "nfo /onge~
                                                 ty
      Listening ~ Gadsplan for humani
                                                                                     m Saint Paul's letter to
                                              this year's message is drawn fro
      2. The theme I have chosen for                                                          formerly Philemon's
                                  Apo stl e  ask s his  co-worker to welcome Onesimus,
                 in whi ch  the                                                                            a brattier.
      Philemon,
                                      , the ref ore , acc ord ing  to  Paul, worthy of being considered
      slave, now a Christian     and                                                                                that
                                            tes : "Pe rha  ps thi s is why  he  was parted from you for a while,
      The Apostle of the Gentiles wri                     ger  as  a slave but more than a slave,
                                                                                                    as a beloved
                              bac  k for  eve  r, no  lon
       you might have him                                                                 became a Christian.
             er"(w . ZS- 16~ .  One  sim  us  bec  ame Phifemon's brotherwhen he                 constitutes a new
       broth
                                     beg inn  ing  of  a life lived Chrisrian discipleship, thus
       Conversion to  Chr ist , the                                                                      d of family life
                                1 Pet   1:3  ) whi ch  gen era tes   fra t~emityas the fundamental bon
       birth(cf. 2Cor5:17;
       and the basis of life in society.



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Apostolic Letter Issued Motu Pro



                                                                                             eement
                y  oth er cri me wh os e  pro sec uti on is required by an international agr
          c)an                                                                       the territory of
                  d by  the Hol y See , if the per petrator is physically present in
          ratifie
                                         been extradited.
          Vatican City State and has not


                                                                                   minal law in force in
                                par agr aph 1 are to be judged pursuant to the cri
   2. The crimes referred to
                             in                                             khe general principles of
                                              mission, without prejudice to
                                        their com
    Vatican City State at the time of
                                      al application of criminal laws.
    the legal system on the tempor                                                                            ``
                                      cri min al law , the fol low ing per son s are deemed 'public officia/s
    3. For the purposes of Vatican
                                                                                               ia and of
                           iCi ats an d per son  nel of the various organs of the Roman Cur
           a)members, off
            the Institutions connected to it.
                                          c        personnel of the Holy See.
            b)papal legates and diplomati
                                                                                    ors, as well as
                  se per son s wh o ser ve as rep resenta~ves, managers or direct
            c)kho                                                               entifies directly
                                                ge or exercise control over the
             persons who even de facto mana                       ry of canonical juridical person
                                                                                                    s
                                                 d listed in the regist
            dependent on the Holy See an
                                                  ican City State;
             kept by the Governorate of Vat
                                                                                                       ,
                                 hol din g an  adm ini str ati ve or judicial mandate in the Holy See
             d)any other person                                                                   ity.
                              por ary , pai d or unp aid  , irr espective of that person's senior
             permanent or tem

                                                                                                                     cal
                                                  agr aph 1 com pri ses als o the administrative liability of juridi
                                              par
      4. The jurisdiction referred to in                                        laws.
          son s ari sin g fro m cri mes , as regulated by Vatican City State
      per                                                                                                       n y
                                                                         the pro    visions in force in Vatica Cit
                               are           prosecuted in other States,
      5. When the same matters
                                       shall apply.
      State on concurrent jurisdiction
                                                                                                ludicia/
                                     La  w No. CXI X of 21 No ve mb er 1987, which approves the
      6.The content of article 23 of
                                      ains in force.
       Omer of Vatican City State rem
                                                                          withstanding.
                                           anything to the contrary not
       This I decide and establish,                                                                          ation in
                                                          Mot u Pro pri o will be  promulgated by its public
                                         Letter issued
       I establish Chat this Apostolic                                          201 .
                   ore Ro ma no , ent eri ng  int o force on i September
       L'Osservat
                                                                                  first ofmy Pontificate.
                    me , at the Ap+ ast o/i c Pal ace, on sY ,1uly X023, the
       Given in  Ro


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Case 2:18-cv-09884-R-PLA Document 1 Filed 11/26/18 Page 39 of 62 Page ID #:39




 Article 1
 Decrees the expulsion ofthe Jews from the colony.

 Ar#icle 2
 Make it imperative on masters to impart religious instruction to their slaves.

 Article 3
 Permits the exercise of the Roman Catholic creed only, Every other mode of worship is prohib-
 ited.

 Article 4
 Negroes placed under the direction or supervision of any other person than a Catholic, are liable
 to confiscation.

 Article 5
 Sundays and holidays are to be strictly observed. All negroes found at work on these days are to
 be confiscated.

 Article 6
 We forbid our white subjects, of both sexes, to marry with the blacks, under penalty of being
 fined and subjected to same other arbitrary punishment. We forbid all curates, priests, or mis-
 sionaries of our secular or regular clergy and even our chaplains in our navy, to sanction such
 marriages. We also forbid all our white subjects, and even the manumitted or free-born blacks,
 to live in a state of concubinage with slaves. Should there be any issue form this kind of inter-
 course, it is Qur will that the person so offending, and the master of the slave should pay each
 fine of three hundred livres. Should said issue be the result of cvncubinage of the master his
 slave, said master shall not only pay the fne, but be deprived of the slave and of the children,
 who shall be adjudged to the hospital ofthe locality ,and said slave shall be forever incapable of
 being set free. But shall this illicit Intercourse have existed between a free black and his slave,
 when said slave according to the forms prescribed by the church, said slave shall there by set
 free and the children shall become free and legitimate; and in such a case there shall be no appli-
 cation ofthe penalties mentioned in the present article.

 Article 7
 The ceremonies and forms prescribed by the ordinance of Blois and by the edict of 1691, for
 marriage, shall be observed both with regard to free persons and slaves. But the consent of the
 father and mother ofthe slave is not necessary; that ofthe master shall be the only on required.

 Article S
 We forbid all curates to process or to effect marriages between slaves without the proof of the
 consent of their master; and we also forbid all masters to force their slaves into marriages
 against their wills.
Case 2:18-cv-09884-R-PLA Document 1 Filed 11/26/18 Page 40 of 62 Page ID #:40




 Article 9
 Children, issued form the marriage ofslaves shall follow the condition oftheir parents, and
 shall belong to the master ofthe wife and not ofthe husband, if the husband and the wife have
 different masters.

 Article 10
 If the husband be a slave, and the wife a free woman, it is our wil htat their children, of what-
 ever sex they be, shall share the condtion oftheir mother, and be as free as she, notwithstanding
 the servitude of their father; and if the father be free and the mother a slave then the children
 shalt ball be slaves.

 Article 11
 Master shall have their Christian slaves buried in consecrated ground.

 Article 12
 We forbid slaves to carry offensive weapons or heavy sticks under the penalty of being
 whipped, and of having said weapons confiscated for the benefit ofthe person seizing he same.
 An exception is made in favor ofthose slaves who are hunting or are shooting for their masters,
 and who carry with them a written permission to that effect, or are being designated by some
 known mark or badge.

 Article 13
 We forbid slaves belonging to different masters to gather in crowds either by day or by night,
 under the pretext of a wedding, or for any other cause, either at the dwelling or on the grounds
 of one of their masters, or elsewhere, and much less on the highways or in secluded ptaces, un-
 der the penalty of corporal punishment, which shall not be less than a whip. In case of frequent
 offenses of the kind, the offenders shall be branded with the mark of the flower de luce, and
 should there be aggravating circumstance, capital punishment may be applied, at the discretions
 ofthe judges. We command all of our subjects, be they officials or not, to seize all such offend-
 ers, to arrest and conduct them to prison, although there should be notjudgement against them.

 Article 14
 Master who shall be convicted of having permitted or tolerated such gathering as aforesaid,
 composed of other slaves than their own, shall be sentenced individually, to indemnity their
 neighbors for the damages occasioned by said gatherings, and to pay, for the first time, a fine of
 thirty livres, and double that sum on the repetitions ofthe offense.

 Article 15
 We forbid negroes to se11 any commodities, provisions, or produce of any kind, without the
 written permission of their masters, or without wearing their known marks or badges, and any
 persons purchasing any thing from negroes in violation of this article, shall be sentenced to pay
 a fine of 1500 livres.

 Article 16,17,18,19
 Provide at length for the clothing of slaves and or their subsistence.
Case 2:18-cv-09884-R-PLA Document 1 Filed 11/26/18 Page 41 of 62 Page ID #:41




 Article 20
 Slaves who shall not be properly fed, clad, and provided for by their masters, may give informa-
 tion thereof to the attorney-general of the Superior Council, or to all the officers of an inferior
 jurisdiction, and may put he written exposition of their wrongs into their hands; upon which in-
 formation ,and even ex officio, shall the information come form another quarter; the attorney-
 general shall prosecute said masters without charging any cost to the complainant. It is our will
 that this regulation be observed in all accusations for crimes or barbarous and inhuman treat-
 ment brought by slaves against their masters.

 Article 21
 Slave who are disabled from working, either by old age, disease or otherwise, e the disease in-
 curable or not, shall be fed and provided for by their master; and in case they should have been
 abandoned by said masters, said slave shall be adjudged to the nearest hospital, to which said
 master shall be obliged to pay eight cents a day for the food, and maintenance of each one of
 these slaves; and for the payment ofthis sum, said hospital shall have a lien on the plantation of
 the masters.

 Article 22
 We declare that slaves have no right of any kind of property but that all that they acquire either
 by their own industry, or by the ability of others, or by any other means or title what ever shall
 be the full property but that all that they acquire either by their own industry, or by the ability of
 others, or by any other means or title what ever shall be the full property of their masters; and
 the children of said slaves, their fathers, mothers, their kindred or other relation either free or
 slave shall have no pretensions or claim thereto, either through testamentary nor positions or
 donations inter vivae; which dispositions and donations we declare null and void, and also
 whatever promise they may have interred into by persons incapable of disposing of anything
 and or participating to any contract.

 Article 23
 Masters shall be responsible for what their slaves have done by their command, and also for
 what transactions they have permitted their slaves to do in their shops, in the particular line of
 commerce with whom they were entrusted; and in cage said slave should have acted without the
 order or authorization oftheir masters, said masters shall be responsible only for so much as has
 turned to their profit; and if said masters have not profited by the dining or transaction of their
 slaves, the per curium which the masters have permitted the slave to own, shall be subjected to
 all claims against said slaves, after deduction made by the masters of what may be due to them;
 and if said per curium should consist in whole or in part of merchandises in which the slaves
 had permission to traffic, the masters shall only come in for their share in common with the
 other credits.

 Article 24
 Slave shall be incapable of all public functions, and of being constituted agents for any other
 person than their own masters, with powers to manage or conduct any kind of trade; nor can
 they serve as arbitrators or experts; nor shall they be called to give their testimony either in civil
 or in criminal cases, except when it shall be a matter of necessity, and only in default of white
 people; but in no case shall they be permitted to serve as witness either for or against their mas-
 ters.
Case 2:18-cv-09884-R-PLA Document 1 Filed 11/26/18 Page 42 of 62 Page ID #:42




 Article 25
 Slaves shall never be parties to civil suits, either as plaintiffs or defendants, nor shall they be
 allowed to appear as complainants in criminal cases, but their master shall have the right to act
 for them in civil matters, and in criminal ones, to demand punishment and reparation for such
 outrages and excesses as their slaves may have suffered from.

 Article 26
 Slaves may be prosecuted criminally, without their masters being made parties to the trial, ex-
 cept they should be indicted as accomplices; and said slaves shalt be tried, at first, by the judges
 of ordinary jurisdiction, if there be any, and on appeal, by the Superior Council ,with the same
 rules, formalities, and proceedings observed for free persons, save the exceptions mentioned
 hereafter.

 Articles 27 to 32 of the Black Codes were not immediately available.

 Article 33
 Slaves who shall have made themselves liable to the penalty of the whip, the flower de Luce
 band, and ear cutting, shall be tried in the last resort, by the ordinary judges of the inferior
 court, and shall undergo the sentence passed upon them without there being an appeal to the
 Superior Council, in confirmation or reversal ofjudgment, notwithstanding the article 26th of
 the present code, which shall be applicable only to those judgements in which the stave con-
 victed is sentenced to be hamstrung or to suffer death.

 Article 34
 Freed or born-free negroes, who shall have afforded refuge in their house to fugitive slaves,
 shall be sentenced to pay to the masters of said slaves, the sum of thirty livres a day for every
 day during which they shall have concealed said fugitives; and all other free persons, guilty of
 the same offense, shall pay a fine of ten livres a day as aforesaid; and should the freed or free-
 born negroes not be able to pay the fine herein specified, they shall be reduced to the condition
 of slaves, and be sold as such. Should the price of the sale exceed the sum mentioned in the
 judgment,the surplus shall be delivered to the hospital.

 Article 35
 We permit our subjects in this colony, who may have slaves concealed in any place whatever,
 to have them sought after by such person and in such a way s they deem proper, so to proceed
 themselves to such research as they may think best.

 Article 36
 The slave who is sentenced to suffer death on the denunciation of his mater, shall, when that
 master is not an accomplice to the crime, be appraised before his execution by two ofthe princi-
 pal inhabitants of the locality, who shall be especially appointed by the judge, and the amount
 of said appraisement shall be paid to the master. To raise this sum,and shall be collected by the
 persons invested with that authority.
 Article 37
 We forbid all the officers of the Superior Council, and all our other officers of the justice in the
 colony to take any fees or receive any perquisites in criminal suits against slaves, under the pen-
 alty, in so doing of, being dealt with as guilty of extortion.
Case 2:18-cv-09884-R-PLA Document 1 Filed 11/26/18 Page 43 of 62 Page ID #:43




 Article 38
 We also forbid all our subjects in this colony, whatever their condition or rank may be, to apply,
 on their own private authority, the rack to their slaves, under any pretense whatever, and to mu-
 tilate said slaves in any one of their limbs, or in any part of their bodies, under the penalty of
 confiscation of said slave; and masters, so offending, shall be liable to a criminal prosecution.
 We only permit, masters, when they shall think that the case requires it, to put their slaves in
 irons and to have them whipped with rods or ropes.

 Article 39
 We command our officers ofjustice in this colony to institute criminal process against masters
 and overseers who shall have killed or mutilated their slaves, when in their power and under
 their supervision, and to punish said murder according to the atrocity of the circumstances; and
 incase the offense shall be a pardonable one, we permit them to pardon said master and overseer
 without it being necessary to obtain from us letter patent of pardon

 Article 40
 Slaves shall be held in law as movables, and as such, they shall be part ofthe community of ac-
 quests between husband and wife; they shall be seized under any mortgage whatever; and they
 shall be equally divided among the coheirs without admitting from any one of said heirs any
 claim founded on preciput or right of primogeniture, or dowry.

 Article 41,42
 Are entirely relative to judicial forms and proceedings.


 Article 43
 Husbands and wives shall not be seized and sold separately when belonging to the same master,
 and their children, who under fourteen years of age, shall not be separated from their parents
 and such seizures and sales shall be null and void. The present article shall apply to voluntary
 sales, and in such case sales should take place in violation of the law, the seller shall be de-
 prived of the slave he has illegally retained and said slave shall be adjudged to the purchased
 without any additional.

 Article 44
 Slaves fourteen years old, and from this age up to sixty, who are settled on lands and planta-
 tions, and are at present working on them, shall not be liable to seizure for debt, except for what
 may be due out ofthe purchase money agreed to be paid for them unless said grounds or planta-
 tions should also be distressed, and seized and judicial sale of a real estate, without including
 the slaves ofthe aforesaid age who are part ofsaid estate, shall be deemed null and void.


 Article 45,46,47,48,49
 Are relative to certain formalities to be observed in judicial proceedings.

 Article 50
 Master, when twenty-five years old, shall have the power to manumit their slaves, either by tes-
 tamentary dispositions, or by acts inter vivace, but as there may be mercenary masters disposed
Case 2:18-cv-09884-R-PLA Document 1 Filed 11/26/18 Page 44 of 62 Page ID #:44




 to set a price on the liberation ofthe liberation oftheir slaves; and whereas slaves with a view to
 acquire the necessary means to purchase their freedom, may be tempted to commit theft or
 deeds of plunder, no mitter to set free his slaves, without the obtaining from the Superior Coun-
 cil adecree of permission to that effect; which permission shall be granted without costs when
 the motive for the setting free of said slaves as specified in the petition ofthe master, shall, ap-
 pear legitimate to the tribunal. All future acts for the emancipation of the slaves freed shall not
 be entitled to their freedom; they shall be taken away from their former masters, and confis-
 cated for the benefit ofthe India company.

 Article 51
 However, should slaves be appointed by their masters tutors to their children, said slaves shall
 be held and regarded as being set free to all intent and purposes.

 Article 53
 We declare that the acts for the enfranchisement of slaves, passed according to the forms above
 described, shall be equivalent o an act of naturalization, when said slaves are not born in our
 colony of Louisiana, and they shall enjoy all the rights and privileges inherent to our subjects
 born in our kingdoms, or in any land or colony under dominion. We declare, however, that all
 manumitted slaves, and all free-born negroes are incapable of receiving donations, either by tes-
 tamentary dispositions or by acts inter vivos from the whites. Said donations shall be null and
 void, and the objects ofsaid donations shall be applied to the benefits ofthe nearest hospital.

 Article 53
 We commend all manumitted slaves to show the profoundest respect to their former masters, to
 their widows and children, and any injury or insult offered by said manumitted slaves to their
 former masters, their widows or children, shall be punished with more severity than if it had
 been offered to any other person. We, however declared them exempt form the discharge of all
 duties or services, and from payment of all taxes or frees, or any thing else in relation to their
 person, or to their personal or real estate, either during the life or after the death ofsaid stave.

 Article 54
 We grant manumitted slaves the same rights, privileges, and immunities which are enjoyed by
 free born persons. It is our pleasure that their merit in having acquired their freedom, shall pro-
 duce in their favor not only with regards to their persons, but also to their property, the same
 effects which our other subjects derive form the happy circumstance of their having been born
 free.


        In the name of the Kking

        Fazende, Brusie, Perry

        Biertville, De la Graise
        March, 1724
Case 2:18-cv-09884-R-PLA Document 1 Filed 11/26/18 Page 45 of 62 Page ID #:45
Case 2:18-cv-09884-R-PLA Document 1 Filed 11/26/18 Page 46 of 62 Page ID #:46




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Case 2:18-cv-09884-R-PLA Document 1 Filed 11/26/18 Page 47 of 62 Page ID #:47
                              SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGfIES
                                     NOTICE TO REAPPEAR
                      CASE tJAME



                      CASE NUMBER

                                                 ~~


                      You are directed to return to the court at the time and
                      place indicated for the reason checked below.
                      DATE                              TIME


                             ~             ~                    ~   ~~~            ~PM
                     DIVISION_       ROO   NUMBER       F{NF PAYMENT (if applicable)




                    [_] Plea           ❑ Triai                  ❑Surrender
C~``~   ~ l~'1~ .
                     ❑ Pretrial        ❑Sentence               [] Payment of Fine

                     ❑ Proof of Completion of Community Service

                         Other:

                        FAILURE TO APPEAR AS INDICATED WILL RESULT 1N A
                        BENCH WARRANT FOR YOUR ARREST BEING JSSUED.

                    CR 227 10-06
                                                                                         Case 2:18-cv-09884-R-PLA Document 1 Filed 11/26/18 Page 48 of 62 Page ID #:48
Case 2:18-cv-09884-R-PLA Document 1 Filed 11/26/18 Page 49 of 62 Page ID #:49
     Case 2:18-cv-09884-R-PLA Document 1 Filed 11/26/18 Page 50 of 62 Page ID #:50
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                          ~~~i~PEKT(y~t COURT OF THE:STATE OF
                                                           CALIFORNIA
                                  FOK THE COUNTY OF LOS ANGELES


            THE PEOPLE OF THE STATE OF CALIFORN
                                                             IA,    CASE NO.          ~~ ; ~ ;; `,., ~ ' ,`; ._ v
                                                       Plaintiff,
                          v.

     TARA MCCLUSKEY (11/17/1975)                                    MISDEMEANOR COMPLAINT
                                                   Defendant(s).    FOR ARREST WARRANT
                                                                    PURSUANT TO                      ~..
                                                                                                   ~~n
                                                                    PENAL CODE SEC. 17(b)4 Su~ierior
                                                                                                     Co~1r~~a~fQ'~
                                                                                                       County of"Ld~P~t~~
 The undersigned is informed and believes that:


                                                  COUNT 1                                   ~herr~         ~ ~rt~Y;      ciu~ilM~~t~d~Q~
                                                                                            ~~-                 ,
                                                                                                            Jennffi~er
        On or about December 5, 201 ,'            •nx~ o~ Los Angeles, the crime of GRAND THEFT
                                                                                                AUTO,in
 violation ofPENAL CODE SECTION 487(d)(1), a Misd
                                                         emeanor, was committed by TARA MCCLUSKEY,
 who did unlawfillly take an automobile, 2013 - CHEVY
                                                         - LIC# 6XRW356.


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Rev. 930-4/13 DA Case 34881892
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                          11';ISDEr1lEA1VOR CO/ti1PI_AINT FUR ARREST WARR                              Case No.
                                                                          ANT
     Case 2:18-cv-09884-R-PLA Document 1 Filed 11/26/18 Page 51 of 62 Page ID #:51
                                                                             t




 NOTICE: Conviction of this offense will require the defendant to provide DNA samples and print
 impressions pursuant to Penal Code sections 296 and 296.1 if the defendant has suffered a prior felony
 conviction. Willful refusal to provide the samples and impressions is a crime.

  NOTICE: The People of the State of California intend to present evidence and seek jury findings
  regarding all applicable circumstances in aggravation, pursuant to Penal Code section 1170(b) and
  Cunningham v. California(2007)549 U.S. 270.

  NOTICE: A Suspected Child Abuse Report(SCAR) may have been generated within the meaning of
  Penal Code §§ 11166 and 11168 involving the charges alleged in this complaint. Dissemination of a
  SCAR is limited 6y Penal Code §§ 11167 and 11167.5 and a court order is required for full disclosure of
  the contents of a SCAR.


Further, attached hereto and incorporated herein are official reports and documents of a law enforcement agency
which the undersigned believes establish probable cause for the arrest of defendants)TARA MCCLUSKEY
for the above-listed crimes. Wherefore, a warrant of arrest is requested for TARA MCCLUSKEY.


I DECLARE LJN-DER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT AND
THAT THIS COMPLAINT,CASE NUMBER ,CONSISTS OF 1 COUNT(S).


      Executed at POMONA,County of Los Angeles, on January 17, 2014.
                                                               ~~
                                                                                        G

                                                      DECLARANT AND COMPLAINA


                        EPUTY




AGENCY:       POMONA PD             I/O:                        ID NO.:             PHONE
DR NO.:                             OPERATOR: CT



                                                   CITATION BOOKING               BAIL            CUSTODY
DEFENDANT                            CII NO.          NO.     NO.                 RECOM'D         R'TN DATE
 MCCLUSKEY,TARA                        097171931    WARRANT




Rev. 930-4/13 DA Case 34881892           Page 2                                                     Case No.
                          MISDEMEANOR COMPLAINT FOR ARREST WARRANT
     Case 2:18-cv-09884-R-PLA Document 1 Filed 11/26/18 Page 52 of 62 Page ID #:52
                                  ~~~.
                                                                                y<-~ ~:
                                 ~~~`



It appearing to the Court that probable cause exists for tie issuance of a v✓arrant of arrest for the above-named
defendant(s), the warrant is so ordered.               ~


BAIL: $'-~O~            ,(~
                 L,~ _                                   u e of the Above Entitled Court
DATE:                 ~~




Rev. 930-4/13 DA Case 34881892           Page 3                                                          Case No.
                          MISDEMEANOR COMPLAINT FOR ARREST WARRANT
  Case 2:18-cv-09884-R-PLA Document 1 Filed 11/26/18 Page 53 of 62 Page ID #:53
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                                    ~~''                                      J




                   SLTPERI~~ COURT ~F THE STAGE OF CALIFORNIA
                            FOR THE COUNTY OF LOS ANGELES

     THE PEOPLE OF THE STATE OF CALIFORNIA,                        CASE NO.          `~ ~ : . ~ , ~~~ `` :: i~
                                     Plaintiff,
                                                                   DECLARATION IN SUPPORT OF
                                  v.                               ARREST WARRANT MADE
                                                                   UNDER 2015.5 CCP
      O1 TARA MCCLUSKEY

                                              Defendant(s).


       The undersigned hereby declares:

       That he/she is currently employed as a Peace Officer for the POMONA PD. That pursuant to

his/her employment he/she has been assigned to investigate allegations that the herein above named

defendants) did commit the offenses) of GRAND THEFT AUTO,in violation ofPENAL CODE

487(D)(1).

       That pursuant to this assignment, your declarant has obtained information from those who have

knowledge of said offense(s), whose reports are attached here and incorporated by reference. He has

reviewed each of these written reports and statements. They were prepared by persons known to your

declarant to be law enforcement officers(and others). These reports and statements consist of pages. These

reports and statements contain information from victim(s), witnesses, and others concerning the

commission of the criminal offenses)for which the Complaint is being sought. Each of these documents

is presently an official record of a law enforcement agency.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed at POMONA,County of Los Angeles, on January 17, 2014.




                                                               ~CLA        NT
                                                                               L



Rev. 585-06/98 DA Case 34881892
               DECLARATION IN SUPPORT OF ARR~,ST WARRANT MADE UNDE 2015.SCCP
    Case 2:18-cv-09884-R-PLA Document 1 Filed 11/26/18 Page 54 of 62 Page ID #:54




                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                FOR THE COUNTY OF LOS ANGELES


          THE PEOPLE OF THE STATE OF CALIFORNIA,                   CASE NO.    ,_ , ~ : '\ . --     `~
                                                      Plaintiff,
                        v.

    TARA MCCLUSKEY (11/17/1975)                                    MISDEMEANOR COMPLAINT
                                                  Defendant(s).    FOR ARREST WARRANT
                                                                   PURSUANT TQ
                                                                   PENAL CODE SEC: 17(b)4

The undersigned is informed and believes that:


                                                 COUNT 1


       On or about December 5, 2013, in the County of Los Angeles, the crime of GRAND THEFT AUTO,in
violation ofPENAL CODE SECTION 487(d)(1), a Misdemeanor, was committed by TARA MCCLUSKEY,
who did unlawfully take an automobile, 2013 - CHEVY - LIC# 6XRW356.


                                                 ~ ****




Rev. 930-4/13 DA Case 34881892           Page 1                                                   Case No.
                          MISDEMEANOR COMPLAINT FOR ARREST WARRANT
       Case 2:18-cv-09884-R-PLA Document 1 Filed 11/26/18 Page 55 of 62 Page ID #:55
                                                                                                                           :: ~;




  NOTICE: Conviction of this offense will require the defendant to provide DNA samples and print
  impressions pursuant to Penal Code sections 296 and 296.1 if the defendant has suffered a prior felony
  conviction. Willful refusal to provide the samples and impressions is a crime.

   NOTICE: The People of the State of California intend to present evidence and seek jury findings
   regarding all applicable circumstances in aggravation, pursuant to Penal Code section 1170(b) and
   Cunningham v. California (2007)549 U.S. 270.

   NOTICE: A Suspected Child Abuse Report(SCAR)may have been generated within the meaning of
   Penal Code §§ 11166 and 11168 involving the charges alleged in this complaint. Dissemination of a
   SCAR is limited by Penal Code §§ 11167 and 11167.5 and a court order is required for full disclosure of
   the contents of a SCAR.


Further, attached hereto and incorporated herein are official reports and documents of a law enforcement agency
which the undersigned believes establish probable cause for the arrest of defendants)TAR.A MCCLUSKEY
for the above-listed crimes. Wherefore, a warrant of arrest is requested for TARA MCCLUSKEY.


I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT AND
THAT THIS COMPLAINT,CASE NUMBER ,CONSISTS OF 1 COLTNT(S).


         Executed at POMONA,County of Los Angeles, on January 17, 2014.




                                                                                       DECLARANT AND COMPLAINANT

..............................................................................................................................................................................
EPHRAIM TURNER,DEPUTY




AGENCY:                POMONA PD                         I/O:                                           ID NO.:                         PHONE
DR NO.:                                                  OPERATOR: CT



                                                                                  CITATION BOOKING                                   BAIL                      CUSTODY
DEFENDANT                                                   CII NO.                  NO.     NO.                                     RECOM'D                   R'TN DATE
 MCCLUSKEY,TARA                                               097171931            WARRANT




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                          MISDEMEANOR COMPLAINT FOR ARREST WARRANT
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                                                                                y~y.




It appearing to the Court that probable cause exists for the issuance of a warrant of arrest for the above-named
defendant(s), the warrant is so ordered.


BAIL: $
                                                        Judge of the Above Entitled Court
DATE:




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                          MISDEMEANOR COMPLAINT FOR ARREST WARRANT
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 o~ az92
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                                                                                                                           Rnervsd for C/elk's Flls Stamp
                SUPERIOR COURT OF CALIFORNIA,                                                                                       ~~~~~
                COUNTY OF LOS ANGELES
                                                                                                                      Superior Court of Califor a
           PUINTIFF:                                                                                                    County of Los Angeles
                PEOPLE OF THE STATE OF CALIFORNIA
                                                                                                                                aUG 212014
           DEFENDANT:
                                                         t~                                                      herri          arter, Exe tive Office Clerk
                                                v ~'' ,i"`~`' ~`'~                 ~~ ~ ~~~C                    8Y                                                  ;puty
                                ~`•   ~~                                                                                        Robin A. Barnhart
                                                                                                                 CASE NUMBER:                               DEPT:
               ADVISEMENT AND WAIVER OF RIGHT TO COUNSEL                                                       ~~Gv ~~~
               (Faretta Waiver)

       Fil                       -to-aet-asry~v~r~--attorney                                   ). Initial the box for each item
       only if you understand and agree with it, and sign and date the form at the end where
                                                                                                    it says "DEFENDANT'S
       SIGNATURE." If you have any questions about anything on this form, ask your attorney, if you
                                                                                                        have one, or the judge.
       T                                                 to give up your right to be represented by a professional attorney.

       CONSTITUTIONAL RIGHTS ~ ~`m ~~~"~ ~~~~`'~~ ~~~ G~ ~~~r~
                                                                                                                   Initials
       1. 1 am the defendant in the above-entitled case. I can read and write. 1 understand                                   .
                                                                                            that my constitutional
          rights inclu,~the following:                                                                                      .
                A.            to a ttorney — I understand that I have an absolute right to be represented by an attorney at
                           s ge f t proceedings and, if 1 do not have the money to pay for an attorney, that one will
                        app i e~,~ by the Court at no cost.
                                                                                                                        be                              a~~ ~~            -~~
                B.

                C.
                        Right tt~      ~edy and Public Jury Trial — t understand that I have a right to a speedy and public
                        trial by a~ury oftwely ' ens drawn from the community.
                        Right to Subpoena itne
                        use of the subpoena
                                                     and Records — I understand that I have the right to the reasonable
                                                                                                                                                        a~
                                                 er o the Court, at no cost to me, to subpoena any witnesses or any
                        documents that 1 may nee        f nse.
               D.       Right to Confront And Cross E         in     itnesses —1 understand that 1 have the right to confront
                        in open court all witnesses who wi I b cal d t testify against me, and that I have the right
                                                                                                                     to cross-
                        examine those witnesses at the time o tri . ~~ n
               E.       Right Against Self-Incrimination — I undo                          cannot be compelled to testify at the trial,
                        but that I have the right to testify at my trial if I v~   to do
               F.       Right to be Released on Bail — I understand                t~-t    y have the right to be released from jail
                        pending trial on reasonable bail.
                                                                                                                                                      ~~
                                                                                                                                                      ,
               G.       Right to Self-Representation — I understand that I have a right to act as my own
                                                                                                              attorney and may
                        waive my right to the assistance of a professional attorney. I further understand
                                                                                                          that if I choose to act
                        as my own attorney, 1 will have to conduct my own defense WITHOUT THE ASSISTAN                                                  ;.
                                                                                                                       CE OF A
                        PROFESSIONAL ATTORNEY.
                                                                                                                                                         ~'
     PERSONAL INFORMATION ~ ~Cy ~~~~                                         J ~ +~ xr~,
                                                                                                   C`~~ '~ 1 C~~S
     2. In support of my request to act as my own attorney, I offer the Court the following
                                                                                            personal information:

               A.       Age:
               B.       The highest educational leve(I have reached is :                                           ~,C:~'Y~ ~I~ St'Yl

              C•        Legal education I have received:
                                                                                                                                                   -~           r1t~~ ~     1
                                                                                                                                              •~



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                                                    V

                     D. I have previously acted as my own attorney in the following criminal matters:                  ❑Never.
                          Case                               Court                            Year                 Result

                         Case                                Court                            Year                 Result

                         Case                                Court                            Year                 Result
                                                                           r                                                             1i11~lalS
          DANGERS AND DISADVANTAGES OFSELF-REPRESENTATION
             3. I understand that there are many dangers and di§advantages in not having a professio
                                                                                                            nal attorney
                represen~ie. I u~xcierstand that among those dangers,and disadvantages are the following
                                                                                                          :
                A. I under and that if I act as my own attorney\ it will be necessary for me, WITHOU
                                                                                                                 T THE
                       S TA          OF A PROFESSIONAL ATTOT~,NEY, to follow all of the requirements of the
                     criminal 1 w,criminal procedure,law of evidence;~;and rules of court.
                B. I understan tha the case against me will be handled by a prosecutor who is an experienc
                                                                                                                  ed trial
                     attorney, and tha I will not be entitled to special consideration or assistance by the prosecuto
                                                                                                                         r
                     pnor to or during the course of the tnal.              ''
               C. I understand that if I act        my own attorney; it wil~'~be necessary for me WITHOtJ'T THE
                     ASSISTANCE OFA P              SSIONALATTORNEY,to conduct my own trial, consisting of, but
                     not limited to: maki g p~t~ial motio s, selecting a jury, along an opening statement
                                                                                                                 , cross-
                     examining the witnesses for the ro cution, subpoenain and presenting my own
                                                                                                              witnesses,
                     making appropriate objections and otions during the course of the trial, preparing and presentin
                                                                                                                        g
                     proposedjury instructions to the     rt    'ng the final argumeMt,and,in the event ofa conviction,
                     making appropriate motions after t 'al a -~ resenting mysel~ at the time of any probation
                                                                                                                       or
                    sentencing hea ng.
                 D.     I understand at will not and cannot       receive any specs` consideration or assistance
                        from the Cou   fu her understand tha e ourt is not perrrutte to and will not answer any
                        questions I ma      cone ing how I should proceed, what law night apply or the correct
                        procedure.
                E.      I understand that if I ask o an additional money over the initial amo t granted by the
                                                                                                               Court,
                        I must use that money only f r m efense and I will be required to kp and show
                                                                                                           the Court
                        receipts for anything I have purch ed ith he money granted to me.
                F.  I understand that if I am in jail,it will      e difficult for me to contact wit sses and investigate
                    my case. I understand that I will have li ted access to a telephone, which wi ~, make
                                                                                                                preparations
                   for trial more difficult,and that I will be provided no more access to the law library than
                                                                                                                   any other
                   inmate who acts as his own attorney,and that acces is invited. I understand that must
                                                                                                         ~I      be familiar
                    with Los Angeles Superior Court Rule 8.42, whi               'ns the rules that deferi~lants who act as
                   their own attorney at the Los Angeles County J ' must~f~low.
                G. I understand that no continuance of the trial will be allowed        out a showing of good cause,and
                   that such requests made just before trial will most likely die ni d.
                                                                                                             ~~
                H. I understand that depending on the stage of my case,if I change            'nd and reque~t an attorney
                   to handle my case,the Court may deny this request and that I may ~                proceed ith the trial
                   without an attorney.
                I.
                 I understand that in conducting the trial, I will be limited in my moveme in the courtroo
                                                                                                               m. All
                 documents,for example, will be handed to witnesses vVhen necessary through the
                                                                                                   bailiff. I will be
                 required to remain in my seat at counsel table and will not have free movement in the
                                                                                                        u~ourtroom.
            J. 1 understand that I must not act disrespectfully incourt. Iunderstand that the Judge may
                                                                                                          germinate
                 my right to act as my own attorney in the event that I engage in serious misconduct obstruct
                                                                                                        o~
                 the conduct and progress of the trial. I understand that if my right to act as my own at~orney
                                                                                                                   is
                 terminated, I may have to be represented by an attorney, appointed by the Judge, who rill
                                                                                                                then
                 take over the case at whatever stage the case may be in.
                                                                                                            ~,
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                                                  ~~C; f1(;~' ~~~~ ~L I 1 ~~ ~
                                                                                      J
                       1 understan that if at some point an appointed attorney does take over my case, that attorney may be
                                                                                                                                   Initials

                       at a disadva tage and that such a disadvantage will not be considered an issue on appeal.
                 L.    I under~s~ nd that misconduct occurring outside of court may also result in restriction or termination
                          mY righ       ct as my own attorney. I also understand that acting as my own attorney will not
                       shield e from disciplinary actions within the jail, and that I will be subject to the same disciplinary
                       me ures as all other inmates for misconduct occurring in the jail.
                 M.    1 nderstand t           defendant who is represented by an attorney prior to being convicted may
                       co lain as art of a timely appeal that the attorney's assistance was ineffective. I understand that
                       by ac'        my own attorney, I am giving up any right to claim on appeal that I had ineffective
                       assistance of counsel.

         CHARGES AND COI~EQUENCES
                                                                                                                                                   U
         4.      I understand that I \
                                     am giving up ha ' g a professional attorney explain to me what crimes I am charged                             ~~
                 with and anY Possible legal defe es I maY have to those crimes.
                                                                                                                                   ~               -~
         5.      I understand that I am giving up hav~ a pro sional attorney explain to me how and which charges
                                                                                                                     and             ~j            ~
                 enhancements require proof of general cr~min intent, which charges require proof of a specific intent
                                                                                                                       or
                 mental state, and what state of mind may a y to any defenses I may have.
        6.       I understand that I am giving up havha          rof Tonal attorney determine what facts must be proved
                 before I can be found guilty and that if I do not kn     at those facts are, I will have to learn about those
                 facts on my own.
                                                                                                                                           i       /
                                                                                                                                                       r'
        7.       I understand that I am giving up having a profess n I attorney determine, if I am convicted, what
                                                                                                                       post-               ~    ~!~
                 trial motions and sentencing options 1 may h ve, and to present those motions and options to the Court.
                                                                                                                                           s :,

        COURT'S ADVICE AND RECOMMENDA
                                                                                                                                     i
                                                                                                                                     ~ r~
        8.       I understand that it is the advice and recom        d~ f is Court that I do not act as my own attorney
                 and that Iaccept acourt-appointed attorney. I unders            t if Iaccept acourt-appointed attorney, a trial
                 attorney will be assigned to defend me. 1 understand at             attorney would be able to investigate my         ~.
                 case, file pretrial motions, conduct the trial, and generally d s e n ~ hat to do.
        9.       I understand that this written re9nest to act as mY own attorne '~11          led with and become Part of the
                                                                                   Y
                 court case file. I further understand that on any appeal t        ay be taken from a conviction, or upon the
                 filing of a petition for an extraordinary writ, this reques ill forwarded to any court of appeal
                                                                                                                      and will
                 be considered by that court in determining whether I                  and intelligently waived my right to an
                 attorney.
        l0.      I understand all that I have read and understood all that the Co rt h Id me. aving in mind all that I
                 have been advised and all of the dangers and disadvantages o~ac' gas         n attorney, it is still my           D
                 request that I act as my own attorney.
                                                                                             l

       I hereby certify that I have read, understood and considered all of the above warnings included
                                                                                                       in this petition,
       and I still want to act as my own attorney. I freely and voluntarily give up my
                                                                                          right to have a professional
       attorney represent me.


       Signed•          C~              L~'c ~~~                                Dated.
                        DEFENDANT'S SIGNATURE                                                      f~(1 ~'G,~ ~,~i~
                                                                                                   J I


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                               INTERPRETER'S STATEMENT (If a~alicable)
    I, having been duly sworn or having a written oath on file, certify that [truly translated
                                                                                               this Advisement and Waiver of
    Right to Counsel (Faretta waiver) form to the defendant in the language indicated below.
                                                                                                The defendant stated that he or
    she understood the contents on the form, and then initialed and signed the form.

    Language:                   ❑ Spanish           ❑ Other (specify)

   Signed:                                                              Dated:
                 COURT INTERPRETER

         L CL. ~-3c;~ w~h.~L~ Q~J~~~~,.~
                 TYPE OR PRINT NAME



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